         Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 1 of 98




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                 )
                                                 )     Chapter 7 Case
In re:
                                                 )
GTHC HOLDING CORP.,                                    Case No. 16-36418
                                                 )
               Debtor.                           )     Hon. Jeff Bohm
                                                 )
                                                 )
                                                 )     Chapter 7 Case
In re:
                                                 )
GEOTRACE TECHNOLOGIES, INC.                            Case No. 16-36419
                                                 )
               Debtor.                           )
                                                 )     Hon. Karen K. Brown
                                                 )

 GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES REGARDING
   THE DEBTORS’ SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS

                                               I.
                                  INTRODUCTION AND
                           SUMMARY OF RELEVANT BACKGROUND

        GTHC Holding Corp. (“GTHC”) and GeoTrace Technologies, Inc. (“GTI” and
collectively with GTHC, the “Debtors”), with the assistance of their respective counsel, have
filed their Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements” and collectively with the Schedules, the “Schedules and
Statements”) with the Bankruptcy Court for the Southern District of Texas, Houston Division
(the “Bankruptcy Court”) in the above-captioned bankruptcy cases (the “Bankruptcy Cases”
and each a “Bankruptcy Case”) in accordance with section 521 of the United States Bankruptcy
Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code” or “Code”) and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules and Statements of Financial Affairs (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of all of the Debtors’ Schedules and Statements.
The Global Notes should be referred to, considered, and reviewed in connection with any review
of the Schedules and Statements.



GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 1
         Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 2 of 98




       The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”).
Nor are the Schedules and Statements intended to be fully reconciled with the financial
statements of the Debtors. Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtors’
reasonable best efforts to report their assets and liabilities, taking into account the unique
challenges posed by the Debtors’ unplanned cessation of operations on October 27, 2016.1

       John A. (“Tony”) Downer has signed each of the Schedules and Statements. As of
October 23, 2016, Mr. Downer was a member of the Boards of Directors of each of the Debtors,
along with William Schrom and Mark S. Rossi. Mssrs. Schrom and Rossi resigned from the
Boards of Directors on October 27, 2016 and October 24, 2016, respectively. Mr. Schrom also
resigned his post as Chief Executive Officer on October 27, 2016. Mr. Downer was thereafter
appointed Acting Chairman of the Debtors pursuant to a certain Written Consent of the Board of
Directors of GTHC Holdings Corp., a Delaware Corporation and GeoTrace Technologies, a
Colorado Corporation, dated November 1, 2016. Since assuming the position of Acting
Chairman, Mr. Downer has focused his efforts on effectuating an orderly liquidation.

        To prepare these Schedules and Statements, the Debtors entered into a series of
consulting agreements with former GeoTrace accounting and IT personnel wherein these former
GeoTrace employees were paid nominal one-time fees in exchange for their assistance with
collecting and interpreting the accounting information required to complete the Schedules and
Statements. Of particular note, Mr. Downer enlisted the assistance of Deborah Walker, the
Debtors’ former Vice President of Accounting. Even so, these Schedules and Statements are
based on the best available information given the company’s unexpected cessation of operations.

        In connection with the filing of the Debtors’ Chapter 7 bankruptcy petitions, Mr. Downer
has resigned as the remaining Director of the Debtors and as Acting Chairman. By operation of
that certain Written Consent of the Board of Directors of GTHC Holdings Corp., a Delaware
Corporation and GeoTrace Technologies, Inc., a Colorado Corporation, dated December 16,
2016 (the “12/16/2016 Written Consent”), Mr. Downer shall continue to have the authority (and
only such authority) to execute, amend and (as applicable) cause to be filed with the Bankruptcy
Court the Schedules and Statements until the earlier of (i) the conclusion of the meeting of
creditors as required by 11 U.S.C. § 341 (the “341 Meeting”) or (ii) upon Mr. Downer providing
written notice of relinquishment of such authority to Allison D. Byman as the duly-appointed
Chapter 7 Trustee in these Bankruptcy Cases and Joseph E. Bain as counsel to the Debtors.2 The
12/16/2016 Written Consent further authorizes Mr. Downer and Deborah Walker to attend the
341 Meeting on behalf of the Debtors.



1
  On or about October 20, 2016, the Debtors learned of an unexpected interruption of an intercompany transfer from
GeoTrace Technologies Limited (“GeoTrace UK”), a Scottish limited liability company and direct subsidiary of
GTI. Absent the intercompany transfer from GeoTrace UK, the Debtors were unable to make October payroll and
thus terminated all of its employees on October 27, 2016.
2
 A copy of the 12/16/2016 Written Consent was filed with the Chapter 7 bankruptcy petitions filed by each of the
Debtors.


GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 2
        Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 3 of 98




                                               II.
                    GLOBAL NOTES AND OVERVIEW OF METHODOLOGY

1.      Reservation of Rights. Reasonable efforts have been made to prepare and file complete
and accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
Debtors reserve all rights to amend or supplement the Schedules and Statements from time to
time, in all respects, as may be necessary or appropriate, including, without limitation, the right
to amend the Schedules and Statements with respect to claim (“Claim”) description(s) and/or
designation(s); dispute or otherwise assert offsets or defenses to any Claim reflected in the
Schedules and Statements as to amount, liability, priority, status, or classification; subsequently
designate any Claim as “disputed,” “contingent,” or “unliquidated;” or object to the extent,
validity, enforceability, priority, or avoidability of any Claim. Any failure to designate a Claim
in the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
constitute an admission by the Debtors that such Claim or amount is not “disputed,”
“contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of liability by
the Debtors. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph. Notwithstanding
the foregoing, the Debtors shall not be required to update the Schedules and Statement.

2.     Description of Case and “As Of” Effective Date. On December 16, 2016 (the
“Petition Date”), the Debtors filed voluntary petitions for relief under Chapter 7 of the
Bankruptcy Code in the Bankruptcy Court.

      Allison D. Byman was duly-appointed the Chapter 7 Trustee (in such capacity, the
“Trustee”) in each of the Debtors’ Bankruptcy Cases.

       Given the Debtors’ unexpected cessation of operations and the termination of all of
Debtors’ employees on October 27, 2016, the Debtors were not able to process and close the
October 2016 accounting data. As such, the information provided in these Schedules and
Statements, except as otherwise noted, is accurate as of September 30, 2016 (the “Effective
Date”), the last date of the Debtors’ last full accounting month.

        The Debtors have taken every effort to provide updated financial information in these
Schedules and Statements regarding developments that have occurred since the Effective Date
until the Petition Date. However, the Debtors’ lack of resources and the sudden cessation of the
Debtors’ business operations prevent the Debtors from providing comprehensive financial
information after the Effective Date.

3.      Net Book Value of Assets. At present, the Debtors lack the resources to obtain current
market valuation for their assets. Moreover, it would be prohibitively expensive, unduly
burdensome, and an inefficient use of estate assets for the Debtors to obtain current market
valuations for all of their assets. Accordingly, unless otherwise indicated, the Schedules and
Statements reflect net book value as of the Effective Date. Additionally, because the book
values of assets such as stock, patents, trademarks, and copyrights may materially differ from
their fair market values, they are listed as unknown amounts as of the Effective and Petition
Date.


GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 3
        Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 4 of 98




4.      Recharacterization. Notwithstanding the Debtors’ reasonable best efforts to properly
characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
unexpired leases, and other items reported in the Schedules and Statements, the Debtors may
nevertheless have improperly characterized, classified, categorized, designated, and/or omitted
certain items due to the complexity and size of the Debtors’ business. Accordingly, the Debtors’
reserve all of their rights to recharacterize, reclassify, recategorize, redesignate, add, or delete
items reported in the Schedules and Statements at a later time as is necessary or appropriate as
additional information becomes available.

5.      Summary of Significant Reporting Policies. The following is a summary of significant
reporting policies:

        a. Undetermined Amounts. The description of an amount as “unknown,” “TBD” or
           “undetermined” is not intended to reflect upon the materiality of such amount.

        b. Totals. All totals that are included in the Schedules and Statements represent totals of
           all known amounts. In other words, unknown or undermined amounts are
           disregarded for purposes of calculating any totals. To the extent there are unknown
           or undetermined amounts, the actual total may be different than the listed total.

        c. Liens. Property and equipment listed in the Schedules and Statements are presented
           without consideration of any liens that may attach (or have attached) to such property
           and equipment.

6.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

7.     Page Numbers. References to page numbers within the Schedules and Statements do not
include any supporting schedules attached to the particular Schedule or Statement.

8.      Limited Access to Information Concerning the Debtors’ Tax Liabilities. As of the
filing of these Schedules and Statements, the Debtors lack detailed information concerning their
tax liabilities due to the Debtors’ unplanned cessation of operations on October 27, 2016. As
such, the information contained within the Schedules and Statements pertaining to the Debtors’
tax liabilities may be incomplete.

9.      Confidentiality. Addresses of current and former employees, including but not limited
to directors, of the Debtors are generally not included in the Schedules and Statements. In
addition, no social security numbers of any of the Debtors employees are included in the
Schedules and Statements. The Debtors shall provide this information to the Trustee if
requested.3

10.    Global Notes Control. In the event that the Schedules and Statements differ from the
foregoing Global Notes, the Global Notes shall control.

3
 This information may also be shared with Oak Investment Partners in an effort to potentially resolve certain
employee-related claims.


GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 4
           Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 5 of 98




                                            III.
                   SPECIFIC DISCLOSURES WITH RESPECT TO THE SCHEDULES OF
                               GTHC HOLDING CORP. (“GTHC”)

Schedule A/B, Item 15. The value of GTHC’s 100% equity interest in GeoTrace Technologies,
Inc. is stated to be “Unknown”. As of the Effective Date, GTHC placed a book value on this
property of $23,256,305.91. However, the Debtors believe that the market value of its shares in
GTI is negligible based on the Debtors’ prepetition efforts to market its assets.


Schedule G. Please note that the Debtors entered into certain service agreements (collectively,
the “Consulting Agreements”) on December 2, 2016 with (i) Deborah Walker, (ii) Patti Gentry,
(iii) Way Mathews and (iv) Fred Goss (collectively the “Consultants”). The Consultants are
former employees of GTI, who previously served as the Debtors’ core accounting staff and as IT
staff in support of the accounting staff. In exchange for nominal one-time, upfront payments, the
Consultants agreed to provide consulting services to the Debtors for purposes of completing the
Schedules and Statements and assisting the Debtors in satisfying the Debtors’ obligations under
the Bankruptcy Code and Bankruptcy Rules. Because the Debtors have fully performed under
the Consulting Agreements and have no further obligations, the Consulting Agreements are not
“executory” and thus have not been included in Schedule G. E.g., Matter of Murexco Petroleum,
Inc., 15 F.3d 60, 62 (5th Cir. 1994).

As of the filing of the Schedules and Statements, the Debtors understand that they entered into an
agreement in 2016 with Duff & Phelps for the marketing of the Debtor's assets. However, the
Debtors do not possess a copy of the contract nor do they possess any materials facts relating
thereto.

                                            IV.
                   SPECIFIC DISCLOSURES WITH RESPECT TO THE STATEMENT OF
                               GTHC HOLDING CORP. (“GTHC”)

Item 11. As was disclosed in the Disclosure of Compensation of Attorneys for GTHC Holding
Corp. and GeoTrace Technologies, Inc. Pursuant to 11 U.S.C. § 329 and Fed. R. Bankr. P. 2016,
filed as Dkt. No. 2 in GTHC’s Bankruptcy Case (the “2016 Disclosure”), the law firm of
Edison, McDowell & Hetherington LLP (“EMH”) received payments of $135,000 for legal
services and advice pertaining to the filing of these Bankruptcy Cases.4 Such legal services and
advice are further described in the 2016 Disclosure.5 Such payments were conveyed to EMH by
wire from GTI’s operating account.
Item 13. Due to the Debtors’ unexpected cessation of operations, the Debtors had no employees
to prepare the Schedules and Statements. In order to comply with its obligations under the


4
    The 2016 Disclosure was also filed in GTI’s Bankruptcy Case as Dkt. No. 2.
5
  As applicable, the 2016 Disclosure is incorporated by reference herein as if the 2016 Disclosure were set forth in
its entirety.


GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 5
        Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 6 of 98




Bankruptcy Code and make the necessary disclosures, the Debtors entered into consulting
agreements with former employees (as previously defined, the “Consultants”) of GTI in order
to prepare the necessary Schedules and Statements. In consideration for their services to the
Debtors, GTI paid each Consultant a one-time, upfront fee as described in Schedule 13.


Item 28. The “% of interest, if any” of GTHC stated in Item 28 are as of December 31, 2015.
The percentage of interest of Oak Investment Partners and its affiliates (collectively, “Oak”)
accounts for Oak’s interests in common shares, series A preferred shares, and Series B preferred
shares on a fully-diluted basis. Based on the Debtors’ knowledge, no material changes have
occurred since December 31, 2015.


Item 29. The information contained in Item 29 is based on the best-available information
possessed by the Debtors as of the filing of the Schedules and Statements. Also, the Debtors’
have been unable to identify when Jerry Dees joined the Board of Directors of GTHC. However,
the minutes from the Board of Directors meetings of GTHC reveal that Mr. Dees first appeared
as a director of GTHC in February 2005.


                                        V.
              SPECIFIC DISCLOSURES WITH RESPECT TO THE SCHEDULES OF
                       GEOTRACE TECHNOLOGIES INC. (“GTI”)

Schedule A/B, Items 1-5 (Part 1). As noted thereon, all balances for Cash and Cash
Equivalents stated in Schedule A/B, Part 1 are the balances as of the Petition Date (of December
16, 2016).

Schedule A/B, Item 3. To supplement its responses, GTI provides (i) Schedule 3(a) which
further describes GTI’s cash account balances as of the Petition Date (of December 16, 2016)
and (ii) Schedule 3(b) which further describes GTI’s cash account balances as of the Effective
Date (of September 30, 2016).

Schedule A/B, Part 11. To supplement its responses, GTI provides Schedule 11, a historical
aging of its accounts receivable.

Schedule A/B, Part 15. To supplement its responses, GTI provides Schedule 15, a schedule of
GTI’s subsidiaries.

Schedule A/B, Items 39-41 (Office Furniture, Fixtures, and Equipment). To supplement its
responses, GTI provides Schedule 39, Schedule 40 and Schedule 41, which are detailed
schedules of the Debtor’s office furniture, office fixtures, and office equipment, respectively.
The items referenced in these schedules are based on Debtors’ physical inventory of items in
May 2016, and do not necessarily reflect the exact inventory as of the Effective Date.

Schedule A/B, Item 44. To supplement its response, GTI provides a copy of its depreciation
schedule as Schedule 44.


GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 6
        Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 7 of 98




Schedule A/B, Item 55. GTI leases space at the following properties: (i) 12141 Wickchester
Drive, Suite 200 and 300, Houston, Texas 77079 (the “Wickchester Property”); (ii) 5959
Corporate Drive, Houston, Texas 77036 (the “Corporate Drive Property”); and (iii) 2435
North Central Expressway, Richardson, Texas 75080 (the “Richardson Property”). The
landlords for each of these properties have locked GTI out of the leased spaces. As of the
Effective Date, (a) $169,368.39 was owed on account of the Wickchester Property; (b)
$95,055.31 was owed on account of the Corporate Drive Property; and (c) $79,190.01 was owed
on account of the Richardson Property.

Schedule A/B, Item 60. As of the filing of these Schedules and Statements, GTI lacks a detailed
accounting of its patents, copyrights, trade marks and trade secrets. Even so, GTI provides (i)
Schedule 60(a), a chart describing the status of GTI’s intellectual property as of September 19,
2013, and Schedule 60(b), a trademark report dated as of July 25, 2014. Schedules 60(a) and
60(b) are the most recent documentation that the Debtors have been able to locate for purposes of
responding to Schedule A/B, Item 60.

Schedule A/B, Items 64 and 68. To supplement its response, GTI provides Schedule 64(a) and
64(b), which are schedules of GTI’s capitalized software as of the Effective Date and purchase
intangibles as of the Effective Date, respectively.

Schedule A/B, Item 69. GTI’s goodwill was analyzed by Adams Capital, Inc. on June 30, 2014.
This was the most recent valuation of GTI’s goodwill. The Debtors have been unable to locate a
recent professional valuation of the other items listed in Part 10 of Schedule A/B.

Schedule A/B, Item 71. To supplement its response, GTI provides a further description of its
notes receivable as Schedule 71.

Schedule E/F, Items 2.1-2.49 (Former Employee Claims). The priority and nonpriority claims
stated in Items 2.1-2.49 are composed of (i) accrued but unpaid payroll for October 2016; (ii)
accrued but unpaid commissions for September 2016; and (iii) accrued but unpaid vacation
through October 2016. The amounts stated as priority claims are based on the limitations
contained within Bankruptcy Code § 507(a)(4), including an inflation-adjusted maximum
priority claim of $12,850. In addition, accrued but unpaid vacation is subject to priority
treatment under Bankruptcy Code § 507(a)(4) only to the extent that such vacation pay was
earned no earlier than 180 days before October 27, 2016, the date that the Debtors’ ceased
operating (or April 30, 2016). Finally, as stated above, addresses of current and former
employees—including but not limited to directors—of the Debtors are generally not included in
the Schedules and Statements. To supplement its responses, GTI further submits a Schedule of
Former Employee Claims.

Schedule E/F, Item 2.50. The estimated tax liability to the Texas Comptroller of Public
Accounts is $19,919.14 for 2016 franchise taxes and $416.53 for 2016 sales and use taxes.

Scheduled E/F, Item 2.51. The estimated tax liability to the Delaware Secretary of State is
$13,811.17.


GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 7
           Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 8 of 98




Schedule G. In addition to the executory contracts and unexpired leases disclosed in Schedule
G, the Debtors also disclose that they entered into certain service agreements (collectively and as
previously defined, the “Consulting Agreements”) on December 2, 2016 with (i) Deborah
Walker, (ii) Patti Gentry, (iii) Way Mathews and (iv) Fred Goss (collectively and as previously
defined, the “Consultants”). The Consultants are former employees of GTI, who previously
served as the Debtors’ core accounting staff and as IT staff in support of the accounting staff. In
exchange for nominal one-time, upfront payments, the Consultants agreed to provide consulting
services to the Debtors for purposes of completing the Schedules and Statements and assisting
the Debtors in satisfying the Debtors’ obligations under the Bankruptcy Code and Bankruptcy
Rules. Because the Debtors have fully performed under the Consulting Agreements and have no
further obligations, the Consulting Agreements are not “executory” and thus have not been
included in Schedule G. E.g., Matter of Murexco Petroleum, Inc., 15 F.3d 60, 62 (5th Cir. 1994).

As of the filing of the Schedules and Statements, the Debtors understand that they entered into an
agreement in 2016 with Duff & Phelps for the marketing of the Debtor's assets. However, the
Debtors do not possess a copy of the contract nor do they possess any materials facts relating
thereto.

                                            VI.
                   SPECIFIC DISCLOSURES WITH RESPECT TO THE STATEMENT OF
                             GEOTRACE TECHNOLOGIES INC. (“GTI”)

Item 11. As was disclosed in the Disclosure of Compensation of Attorneys for GTHC Holding
Corp. and GeoTrace Technologies, Inc. Pursuant to 11 U.S.C. § 329 and Fed. R. Bankr. P. 2016,
filed as Dkt. No. 2 in the GTI’s Bankruptcy Case (as previously defined, the “2016
Disclosure”), the law firm of Edison, McDowell & Hetherington LLP (“EMH”) received
payments of $135,000 for legal services and advice pertaining to the filing of these Bankruptcy
Cases.6 Such legal services and advice are further described in the 2016 Disclosure.7 Such
payments were conveyed to EMH by wire from GTI’s operating account.


Item 13. Due to the Debtors’ unexpected cessation of operations, the Debtors had no employees
to prepare the Schedules and Statements. In order to comply with its obligations under the
Bankruptcy Code and make the necessary disclosures, the Debtors entered into consulting
agreements with former employees (as previously defined, the “Consultants”) of GTI in order
to prepare the necessary Schedules and Statements. In consideration for their services to the
Debtors, GTI paid each Consultant a one-time, upfront fee as described in Schedule 13.




6
    The 2016 Disclosure was also filed in GTHC’s Bankruptcy Case as Dkt. No. 2.
7
  As applicable, the 2016 Disclosure is incorporated by reference herein as if the 2016 Disclosure were set forth in
its entirety.


GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 8
        Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 9 of 98




Item 25. Debtor has attached Schedule 25 reflecting all reasonably available information
concerning Debtor’s interests, if any, in other businesses or entities. Debtor believes additional
relevant information may be located in the 3rd floor file room of the Wickchester Property, but
Debtor does not currently have access to the premises.


Item 21. Upon information and belief, the Debtors currently have possession of certain property
belonging to the Debtors’ former clients. Such property includes seismic data that GTI had
agreed to process.


Item 29. The information contained in Item 29 is based on the best-available information
possessed by the Debtors as of the filing of the Schedules and Statements. In addition, the
Debtors have been unable to confirm whether Jerry Dees was a member of GTI’s Board of
Directors.




GLOBAL NOTES TO SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS - PAGE 9
                              Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 10 of 98


 Fill in this information to identify the case:

              GEOTRACE TECHNOLOGIES,
 Debtor name ____________________________    INC.
                                          _____ _____ _____ ______ _____ _____ _____ _

                                                         SOUTHERN              TEXAS
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):
                                       16-36419
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                          UNKNOWN
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               1,418,574.34
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                    1,418,574.34
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                  9,776,226.41
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                  727,287.86
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                    1,230,782.87
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________




4.   Total liabilities...................................................................................................................................................................          11,734,297.14
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                       Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 11 of 98
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               GEOTRACE TECHNOLOGIES, INC.
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Schedule A/B: Assets — Real and Personal Property                                                                                                   

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OHDVHV$OVROLVWWKHPRQ Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP* 
%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP$WWKHWRSRIDQ\SDJHVDGGHGZULWH
WKHGHEWRU¶VQDPHDQGFDVHQXPEHU LINQRZQ $OVRLGHQWLI\WKHIRUPDQGOLQHQXPEHUWRZKLFKWKHDGGLWLRQDOLQIRUPDWLRQDSSOLHV,IDQ
DGGLWLRQDOVKHHWLVDWWDFKHGLQFOXGHWKHDPRXQWVIURPWKHDWWDFKPHQWLQWKHWRWDOIRUWKHSHUWLQHQWSDUW


)RU3DUWWKURXJK3DUWOLVWHDFKDVVHWXQGHUWKHDSSURSULDWHFDWHJRU\RUDWWDFKVHSDUDWHVXSSRUWLQJVFKHGXOHVVXFKDVDIL[HGDVVHW
VFKHGXOHRUGHSUHFLDWLRQVFKHGXOHWKDWJLYHVWKHGHWDLOVIRUHDFKDVVHWLQDSDUWLFXODUFDWHJRU\/LVWHDFKDVVHWRQO\RQFH,QYDOXLQJWKH
GHEWRU¶VLQWHUHVWGRQRWGHGXFWWKHYDOXHRIVHFXUHGFODLPV6HHWKHLQVWUXFWLRQVWRXQGHUVWDQGWKHWHUPVXVHGLQWKLVIRUP


Part 1:  Cash and cash equivalents

 'RHVWKHGHEWRUKDYHDQ\FDVKRUFDVKHTXLYDOHQWV"
                                                                   /PUF"MMBNPVOUTTUBUFEJO1BSUBSFBTPG1FUJUJPO%BUF
         1R *RWR3DUW
         <HV)LOOLQWKHLQIRUPDWLRQEHORZ

    $OOFDVKRUFDVKHTXLYDOHQWVRZQHGRUFRQWUROOHGE\WKHGHEWRU                                                                 &XUUHQWYDOXHRIGHEWRU¶V
                                                                                                                                    LQWHUHVW

 &DVKRQKDQG                                                                                                                    BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                   480.53 

 &KHFNLQJVDYLQJVPRQH\PDUNHWRUILQDQFLDOEURNHUDJHDFFRXQWV(Identify all)

   1DPHRILQVWLWXWLRQ EDQNRUEURNHUDJHILUP                  7\SHRIDFFRXQW               /DVWGLJLWVRIDFFRXQWQXPEHU
        See Schedule 3(a) (Cash Balances as of Petition Date)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                  8,643.66
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        See also Schedule 3(b) (Cash Balances as of Effective Date) BBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBB


 2WKHUFDVKHTXLYDOHQWV(Identify all)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     BBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     BBBBBBBBBBBBBBBBBBBBBB

 7RWDORI3DUW
                                                                                                                                   BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                 9,124.19 
   $GGOLQHVWKURXJK LQFOXGLQJDPRXQWVRQDQ\DGGLWLRQDOVKHHWV &RS\WKHWRWDOWROLQH



Part 2:     Deposits and prepayments

 'RHVWKHGHEWRUKDYHDQ\GHSRVLWVRUSUHSD\PHQWV"

         1R *RWR3DUW
         <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                                     &XUUHQWYDOXHRI
                                                                                                                                     GHEWRU¶VLQWHUHVW
 'HSRVLWVLQFOXGLQJVHFXULW\GHSRVLWVDQGXWLOLW\GHSRVLWV

   'HVFULSWLRQLQFOXGLQJQDPHRIKROGHURIGHSRVLW
         See Schedule 7(a) (Deposits as of Effective Date)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                   BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                  22,249.50
        See also Schedule 7(b) (Credit Balances from Vendors)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                   BBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                    107.14  


2IILFLDO)RUP$%                                   6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                     SDJH 
                       Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 12 of 98
'HEWRU       GEOTRACE TECHNOLOGIES, INC.
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                 16-36419
                                                                                                  &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH




 3UHSD\PHQWVLQFOXGLQJSUHSD\PHQWVRQH[HFXWRU\FRQWUDFWVOHDVHVLQVXUDQFHWD[HVDQGUHQW
   'HVFULSWLRQLQFOXGLQJQDPHRIKROGHURISUHSD\PHQW
        See Schedule 8(a) (Loan Origination Fees); Schedule 8(b) (Unbilled Revenue); Schedule 8(c) (Prepaid Expenses)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                594,117.39
                                                                                                                                     BBBBBBBBBBBBBBBBBBBBBB
        Net All Other Prepaids
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                148,200.15 
                                                                                                                                     BBBBBBBBBBBBBBBBBBBBBBB

 7RWDORI3DUW
                                                                                                                                                  764,674.18 
                                                                                                                                    BBBBBBBBBBBBBBBBBBBBBB
   $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH



Part 3:    Accounts receivable

 'RHVWKHGHEWRUKDYHDQ\DFFRXQWVUHFHLYDEOH"

     1R *RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                                     &XUUHQWYDOXHRIGHEWRU¶V
                                                                                                                                     LQWHUHVW
 $FFRXQWVUHFHLYDEOH

                                           393,330.95
    DGD\VROGRUOHVV BBBBBBBBBBBBBBBBBBBBBBBBBBBB                 -0-
                                                              ± BBBBBBBBBBBBBBBBBBBBBBBBBBB           Î                             393,330.95 
                                                                                                                                    BBBBBBBBBBBBBBBBBBBBBB
                                 IDFHDPRXQW                   GRXEWIXORUXQFROOHFWLEOHDFFRXQWV

    E2YHUGD\VROG                  453,209.00
                                 BBBBBBBBBBBBBBBBBBBBBBBBBBB              314,209.00
                                                               ± BBBBBBBBBBBBBBBBBBBBBBBBBBB          Î                             139,000.00 
                                                                                                                                    BBBBBBBBBBBBBBBBBBBBBB
                                   IDFHDPRXQW                  GRXEWIXORUXQFROOHFWLEOHDFFRXQWV


 7RWDORI3DUW                                                                                                                               532,330.95 
                                                                                                                                    BBBBBBBBBBBBBBBBBBBBBB
    &XUUHQWYDOXHRQOLQHVDE OLQH&RS\WKHWRWDOWROLQH


Part 4:    Investments

 'RHVWKHGHEWRURZQDQ\LQYHVWPHQWV"
     1R *RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                          9DOXDWLRQPHWKRG          &XUUHQWYDOXHRIGHEWRU¶V
                                                                                                          XVHGIRUFXUUHQWYDOXH    LQWHUHVW

 0XWXDOIXQGVRUSXEOLFO\WUDGHGVWRFNVQRWLQFOXGHGLQ3DUW
   1DPHRIIXQGRUVWRFN
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBBBB



 1RQSXEOLFO\WUDGHGVWRFNDQGLQWHUHVWVLQLQFRUSRUDWHGDQGXQLQFRUSRUDWHGEXVLQHVVHV
    LQFOXGLQJDQ\LQWHUHVWLQDQ//&SDUWQHUVKLSRUMRLQWYHQWXUH

   1DPHRIHQWLW\                                                                  RIRZQHUVKLS
         GTI Subsidiaries Listed On Schedule 15
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBB           N/A
                                                                                                          BBBBBBBBBBBBBBBBBBBBB                   UNKNOWN 
                                                                                                                                    BBBBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBB           BBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBBBB

 *RYHUQPHQWERQGVFRUSRUDWHERQGVDQGRWKHUQHJRWLDEOHDQGQRQQHJRWLDEOH
    LQVWUXPHQWVQRWLQFOXGHGLQ3DUW
 'HVFULEH
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                 BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                 BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBBB




 7RWDORI3DUW                                                                                                                              UNKNOWN 
                                                                                                                                    BBBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH



2IILFLDO)RUP$%                                        6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                    SDJH 
                           Case 16-36419
                        GEOTRACE         Document
                                 TECHNOLOGIES, INC.                      10 Filed in TXSB on 12/30/16 Page 13 of 98
                                                                                                      16-36419
    'HEWRU            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                    &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       1DPH




Part 5:           Inventory, excluding agriculture assets

 'RHVWKHGHEWRURZQDQ\LQYHQWRU\ H[FOXGLQJDJULFXOWXUHDVVHWV "
            1R *RWR3DUW
            <HV)LOOLQWKHLQIRUPDWLRQEHORZ
             *HQHUDOGHVFULSWLRQ                           'DWHRIWKHODVW     1HWERRNYDOXHRI     9DOXDWLRQPHWKRGXVHG         &XUUHQWYDOXHRI
                                                            SK\VLFDOLQYHQWRU\   GHEWRU VLQWHUHVW    IRUFXUUHQWYDOXH             GHEWRU¶VLQWHUHVW
                                                                                  :KHUHDYDLODEOH 
 5DZPDWHULDOV
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBB                              BBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBBB
                                                             00''<<<<
                                                                                  BBBBBBBBBBBBBBBBBB

 :RUNLQSURJUHVV
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBBB
                                                            00''<<<<
                                                                                  BBBBBBBBBBBBBBBBBB

 )LQLVKHGJRRGVLQFOXGLQJJRRGVKHOGIRUUHVDOH
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBBB
                                                            00''<<<<
                                                                                  BBBBBBBBBBBBBBBBBB

 2WKHULQYHQWRU\RUVXSSOLHV
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBBB
                                                            00''<<<<
                                                                                  BBBBBBBBBBBBBBBBBB
       




 7RWDORI3DUW                                                                                                                 BBBBBBBBBBBBBBBBBBBBBB
            $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 ,VDQ\RIWKHSURSHUW\OLVWHGLQ3DUWSHULVKDEOH"
               1R
               <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQSXUFKDVHGZLWKLQGD\VEHIRUHWKHEDQNUXSWF\ZDVILOHG"

               1R
               <HV %RRNYDOXHBBBBBBBBBBBBBBB9DOXDWLRQPHWKRGBBBBBBBBBBBBBBBBBBBB&XUUHQWYDOXHBBBBBBBBBBBBBB
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
               1R
               <HV

Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)

 'RHVWKHGHEWRURZQRUOHDVHDQ\IDUPLQJDQGILVKLQJUHODWHGDVVHWV RWKHUWKDQWLWOHGPRWRUYHKLFOHVDQGODQG "
            1R *RWR3DUW
            <HV)LOOLQWKHLQIRUPDWLRQEHORZ
             *HQHUDOGHVFULSWLRQ                                                  1HWERRNYDOXHRI    9DOXDWLRQPHWKRGXVHG        &XUUHQWYDOXHRIGHEWRU¶V
                                                                                   GHEWRU VLQWHUHVW   IRUFXUUHQWYDOXH            LQWHUHVW
                                                                                   :KHUHDYDLODEOH 
 &URSV²HLWKHUSODQWHGRUKDUYHVWHG
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBB

 )DUPDQLPDOVExamples/LYHVWRFNSRXOWU\IDUPUDLVHGILVK
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBB

 )DUPPDFKLQHU\DQGHTXLSPHQW 2WKHUWKDQWLWOHGPRWRUYHKLFOHV 

        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBB

 )DUPDQGILVKLQJVXSSOLHVFKHPLFDOVDQGIHHG
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBB

 2WKHUIDUPLQJDQGILVKLQJUHODWHGSURSHUW\QRWDOUHDG\OLVWHGLQ3DUW

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBBBB


    2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                               SDJH
                       Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 14 of 98
'HEWRU       GEOTRACE TECHNOLOGIES, INC.
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                               16-36419
                                                                                                &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              1DPH




 7RWDORI3DUW
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 ,VWKHGHEWRUDPHPEHURIDQDJULFXOWXUDOFRRSHUDWLYH"

    1R
    <HV,VDQ\RIWKHGHEWRU¶VSURSHUW\VWRUHGDWWKHFRRSHUDWLYH"
       1R
       <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQSXUFKDVHGZLWKLQGD\VEHIRUHWKHEDQNUXSWF\ZDVILOHG"

    1R
    <HV%RRNYDOXHBBBBBBBBBBBBBBB9DOXDWLRQPHWKRGBBBBBBBBBBBBBBBBBBBB&XUUHQWYDOXHBBBBBBBBBBBBBBBB
 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"

    1R
    <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"

    1R
    <HV

Part 7:     Office furniture, fixtures, and equipment; and collectibles

 'RHVWKHGHEWRURZQRUOHDVHDQ\RIILFHIXUQLWXUHIL[WXUHVHTXLSPHQWRUFROOHFWLEOHV"

    1R *RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

   *HQHUDOGHVFULSWLRQ                                                        1HWERRNYDOXHRI     9DOXDWLRQPHWKRG            &XUUHQWYDOXHRIGHEWRU¶V
                                                                               GHEWRU VLQWHUHVW    XVHGIRUFXUUHQWYDOXH      LQWHUHVW
                                                                                :KHUHDYDLODEOH 

 2IILFHIXUQLWXUH
   See Schedule 39 (Office Furniture as of Effective Date)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                      9,649.26 
                                                                                BBBBBBBBBBBBBBBB              N/A
                                                                                                       BBBBBBBBBBBBBBBBBBBB           UNKNOWN
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBBB

 2IILFHIL[WXUHV
   See Schedule 40 (Office Fixtures as of Effective Date)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     23,919.53 
                                                                                BBBBBBBBBBBBBBBB              N/A
                                                                                                       BBBBBBBBBBBBBBBBBBBB            UNKNOWN
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBBB

 2IILFHHTXLSPHQWLQFOXGLQJDOOFRPSXWHUHTXLSPHQWDQG
     FRPPXQLFDWLRQV\VWHPVHTXLSPHQWDQGVRIWZDUH
     See Schedule 41 (Office Equipment as of Effective Date)
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                   24,904.66 
                                                                                BBBBBBBBBBBBBBBB              N/A
                                                                                                       BBBBBBBBBBBBBBBBBBBB            UNKNOWN
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBBB

 &ROOHFWLEOHVExamples:$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHU
     DUWZRUNERRNVSLFWXUHVRURWKHUDUWREMHFWVFKLQDDQGFU\VWDOVWDPSFRLQ
     RUEDVHEDOOFDUGFROOHFWLRQVRWKHUFROOHFWLRQVPHPRUDELOLDRUFROOHFWLEOHV
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBBB
 
 7RWDORI3DUW
                                                                                                                                            UNKNOWN 
                                                                                                                                  BBBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"

    1R
    <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"

    1R
    <HV

2IILFLDO)RUP$%                                       6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                  SDJH
                               Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 15 of 98
    'HEWRU
                       GEOTRACE TECHNOLOGIES, INC.
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                          16-36419
                                                                                                   &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                      1DPH




Part 8: Machinery, equipment, and vehicles

 'RHVWKHGHEWRURZQRUOHDVHDQ\PDFKLQHU\HTXLSPHQWRUYHKLFOHV"

           1R *RWR3DUW
           <HV)LOOLQWKHLQIRUPDWLRQEHORZ

       *HQHUDOGHVFULSWLRQ                                                       1HWERRNYDOXHRI      9DOXDWLRQPHWKRGXVHG        &XUUHQWYDOXHRI
                                                                                  GHEWRU VLQWHUHVW     IRUFXUUHQWYDOXH            GHEWRU¶VLQWHUHVW
       ,QFOXGH\HDUPDNHPRGHODQGLGHQWLILFDWLRQQXPEHUV LH9,1
                                                                                  :KHUHDYDLODEOH 
       +,1RU1QXPEHU 


 $XWRPRELOHVYDQVWUXFNVPRWRUF\FOHVWUDLOHUVDQGWLWOHGIDUPYHKLFOHV

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB

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
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB


 :DWHUFUDIWWUDLOHUVPRWRUVDQGUHODWHGDFFHVVRULHV([DPSOHV%RDWV
     WUDLOHUVPRWRUVIORDWLQJKRPHVSHUVRQDOZDWHUFUDIWDQGILVKLQJYHVVHOV

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB

 $LUFUDIWDQGDFFHVVRULHV

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB

 2WKHUPDFKLQHU\IL[WXUHVDQGHTXLSPHQW H[FOXGLQJIDUP
     PDFKLQHU\DQGHTXLSPHQW 

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBB
      
 7RWDORI3DUW
                                                                                                                                      BBBBBBBBBBBBBBBBBBBBBB
           $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH
                                   
 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
              1R
              <HV

 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
              1R
              <HV

           




    2IILFLDO)RUP$%                                         6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                               SDJH
                           Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 16 of 98
'HEWRU
                   GEOTRACE TECHNOLOGIES, INC.
                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                             16-36419
                                                                                                          &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH




Part 9:       Real property

 'RHVWKHGHEWRURZQRUOHDVHDQ\UHDOSURSHUW\"
       1R *RWR3DUW
       <HV)LOOLQWKHLQIRUPDWLRQEHORZ
 $Q\EXLOGLQJRWKHULPSURYHGUHDOHVWDWHRUODQGZKLFKWKHGHEWRURZQVRULQZKLFKWKHGHEWRUKDVDQLQWHUHVW

       'HVFULSWLRQDQGORFDWLRQRISURSHUW\                    1DWXUHDQGH[WHQW        1HWERRNYDOXHRI    9DOXDWLRQPHWKRGXVHG       &XUUHQWYDOXHRI
       ,QFOXGHVWUHHWDGGUHVVRURWKHUGHVFULSWLRQVXFKDV  RIGHEWRU¶VLQWHUHVW GHEWRU VLQWHUHVW           IRUFXUUHQWYDOXH           GHEWRU¶VLQWHUHVW
       $VVHVVRU3DUFHO1XPEHU $31 DQGW\SHRISURSHUW\ LQSURSHUW\             :KHUHDYDLODEOH 
        IRUH[DPSOHDFUHDJHIDFWRU\ZDUHKRXVHDSDUWPHQW
       RURIILFHEXLOGLQJ LIDYDLODEOH
           12141 Wickchester Lane, Houston, TX
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   Lease
                                                                  BBBBBBBBBBBBBBBBB
                                                                                                    -0-
                                                                                           BBBBBBBBBBBBBBB     N/A
                                                                                                                 BBBBBBBBBBBBBBBBBBBB
                                                                                                                                                UNKNOWN
                                                                                                                                              BBBBBBBBBBBBBBBBBBBBB
           5959 Corporate Drive, Houston, TX
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   Lease
                                                                  BBBBBBBBBBBBBBBBB
                                                                                                    -0-
                                                                                           BBBBBBBBBBBBBBB     N/A
                                                                                                                 BBBBBBBBBBBBBBBBBBBB
                                                                                                                                                UNKNOWN
                                                                                                                                              BBBBBBBBBBBBBBBBBBBBB
           2435 N. Cent. Exwy., Richardson, TX
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   Lease
                                                                  BBBBBBBBBBBBBBBBB
                                                                                                    -0-
                                                                                           BBBBBBBBBBBBBBB     N/A
                                                                                                                 BBBBBBBBBBBBBBBBBBBB
                                                                                                                                                UNKNOWN
                                                                                                                                              BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBB


 7RWDORI3DUW                                                                                                                         UNKNOWN
                                                                                                                                              BBBBBBBBBBBBBBBBBBBBB
       $GGWKHFXUUHQWYDOXHRQOLQHVWKURXJKDQGHQWULHVIURPDQ\DGGLWLRQDOVKHHWV&RS\WKHWRWDOWROLQH

 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
          1R
          <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
          1R
          <HV

Part 10: Intangibles and intellectual property

 'RHVWKHGHEWRUKDYHDQ\LQWHUHVWVLQLQWDQJLEOHVRULQWHOOHFWXDOSURSHUW\"
       1R *RWR3DUW
       <HV)LOOLQWKHLQIRUPDWLRQEHORZ
   *HQHUDOGHVFULSWLRQ                                                                   1HWERRNYDOXHRI    9DOXDWLRQPHWKRG             &XUUHQWYDOXHRI
                                                                                           GHEWRU VLQWHUHVW   XVHGIRUFXUUHQWYDOXH       GHEWRU¶VLQWHUHVW
                                                                                           :KHUHDYDLODEOH 
 3DWHQWVFRS\ULJKWVWUDGHPDUNVDQGWUDGHVHFUHWV
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       See Schedules 60(a) and 60(b)                                                            UNKNOWN
                                                                                           BBBBBBBBBBBBBBBBB
                                                                                                                   N/A
                                                                                                                  BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                 UNKNOWN
                                                                                                                                               BBBBBBBBBBBBBBBBBBBB

 ,QWHUQHWGRPDLQQDPHVDQGZHEVLWHV
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     BBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB

 /LFHQVHVIUDQFKLVHVDQGUR\DOWLHV
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     BBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB

 &XVWRPHUOLVWVPDLOLQJOLVWVRURWKHUFRPSLODWLRQV
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     BBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB

 2WKHULQWDQJLEOHVRULQWHOOHFWXDOSURSHUW\                                                                  N/A
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       See Schedule 64(a) (Capitalized Software); Schedule 64(b) (Purchased Intangibles)
                                                                                                 3,426,903.33
                                                                                            BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBBB          UNKNOWN
                                                                                                                                               BBBBBBBBBBBBBBBBBBBB
 *RRGZLOO
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                25,520,145.14
                                                                                            BBBBBBBBBBBBBBBB
                                                                                                                   N/A
                                                                                                                  BBBBBBBBBBBBBBBBBBBBB           UNKNOWN
                                                                                                                                               BBBBBBBBBBBBBBBBBBBB

 7RWDORI3DUW                                                                                                                         UNKNOWN
                                                                                                                                             BBBBBBBBBBBBBBBBBBBB
       $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH
         




2IILFLDO)RUP$%                                                6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                   SDJH
                          Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 17 of 98
'HEWRU          GEOTRACE TECHNOLOGIES, INC.
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                             16-36419
                                                                                                 &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 1DPH




 'R\RXUOLVWVRUUHFRUGVLQFOXGHSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQRIFXVWRPHUV DVGHILQHGLQ86& $ DQG "
          1R
          <HV
 ,VWKHUHDQDPRUWL]DWLRQRURWKHUVLPLODUVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
         1R
         <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
         1R
         <HV

Part 11: All other assets

 'RHVWKHGHEWRURZQDQ\RWKHUDVVHWVWKDWKDYHQRW\HWEHHQUHSRUWHGRQWKLVIRUP"
    ,QFOXGHDOOLQWHUHVWVLQH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVQRWSUHYLRXVO\UHSRUWHGRQWKLVIRUP
         1R *RWR3DUW
         <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                                      &XUUHQWYDOXHRI
                                                                                                                                        GHEWRU¶VLQWHUHVW
 1RWHVUHFHLYDEOH
    'HVFULSWLRQ LQFOXGHQDPHRIREOLJRU 
      See Schedule 71 (Notes Receivable as of Effective Date)
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                       191,076.00
                                                                      BBBBBBBBBBBBBBB    ± BBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                              191,076.00                         Î                   -0-
                                                                                                                                       BBBBBBBBBBBBBBBBBBBBB
                                                                      7RWDOIDFHDPRXQW    GRXEWIXORUXQFROOHFWLEOHDPRXQW 

 7D[UHIXQGVDQGXQXVHGQHWRSHUDWLQJORVVHV 12/V 

    'HVFULSWLRQ IRUH[DPSOHIHGHUDOVWDWHORFDO 
                                                                                                                                      
    Federal Deferred Tax Asset
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                   2014
                                                                                                              7D[\HDU BBBBBBBBBBB              112,445.02
                                                                                                                                       BBBBBBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                              7D[\HDU BBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                              7D[\HDU BBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBB
         
 ,QWHUHVWVLQLQVXUDQFHSROLFLHVRUDQQXLWLHV
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                    -0-
                                                                                                                                       BBBBBBBBBBBBBBBBBBBBBBB

 &DXVHVRIDFWLRQDJDLQVWWKLUGSDUWLHV ZKHWKHURUQRWDODZVXLW
     KDVEHHQILOHG 
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                    -0-
                                                                                                                                       BBBBBBBBBBBBBBBBBBBBBBB
    1DWXUHRIFODLP                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                            
    $PRXQWUHTXHVWHG                  BBBBBBBBBBBBBBBB

 2WKHUFRQWLQJHQWDQGXQOLTXLGDWHGFODLPVRUFDXVHVRIDFWLRQRI
     HYHU\QDWXUHLQFOXGLQJFRXQWHUFODLPVRIWKHGHEWRUDQGULJKWVWR
     VHWRIIFODLPV
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                    -0-
                                                                                                                                       BBBBBBBBBBBBBBBBBBBBBBB

    1DWXUHRIFODLP                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                            
    $PRXQWUHTXHVWHG                  BBBBBBBBBBBBBBBB

 7UXVWVHTXLWDEOHRUIXWXUHLQWHUHVWVLQSURSHUW\

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                    -0-
                                                                                                                                        BBBBBBBBBBBBBBBBBBBBB

 2WKHUSURSHUW\RIDQ\NLQGQRWDOUHDG\OLVWHGExamples:6HDVRQWLFNHWV
     FRXQWU\FOXEPHPEHUVKLS
                                                                                                                                                        -0- 
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                        BBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                        BBBBBBBBBBBBBBBBBBBBB

 7RWDORI3DUW
                                                                                                                                                112,445.02 
                                                                                                                                       BBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
         1R
         <HV

2IILFLDO)RUP$%                                        6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                    SDJH
                         Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 18 of 98
    'HEWRU
                       GEOTRACE TECHNOLOGIES, INC.
                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                        16-36419
                                                                  &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                     1DPH




Part 12:             Summary



,Q3DUWFRS\DOORIWKHWRWDOVIURPWKHHDUOLHUSDUWVRIWKHIRUP


        7\SHRISURSHUW\                                                                                &XUUHQWYDOXHRI                         &XUUHQWYDOXH      
                                                                                                          SHUVRQDOSURSHUW\                         RIUHDOSURSHUW\
                                                                                                                    9,124.19
    &DVKFDVKHTXLYDOHQWVDQGILQDQFLDODVVHWVCopy line 5, Part 1.                                  BBBBBBBBBBBBBBB                                             
                                                                                                                  764,674.18
    'HSRVLWVDQGSUHSD\PHQWVCopy line 9, Part 2.                                                      BBBBBBBBBBBBBBB                                             
                                                                                                                  532,330.95
    $FFRXQWVUHFHLYDEOHCopy line 12, Part 3.                                                          BBBBBBBBBBBBBBB                                             
                                                                                                                  UNKNOWN
    ,QYHVWPHQWVCopy line 17, Part 4.                                                                  BBBBBBBBBBBBBBB                                             
                                                                                                                     N/A
    ,QYHQWRU\Copy line 23, Part 5.                                                                    BBBBBBBBBBBBBBB                                             
                                                                                                                      N/A
    )DUPLQJDQGILVKLQJUHODWHGDVVHWVCopy line 33, Part 6.                                           BBBBBBBBBBBBBBB                                             
    2IILFHIXUQLWXUHIL[WXUHVDQGHTXLSPHQWDQGFROOHFWLEOHV                                           UNKNOWN
                                                                                                             BBBBBBBBBBBBBBB                                             
           Copy line 43, Part 7.
                                                                                                                       N/A
    0DFKLQHU\HTXLSPHQWDQGYHKLFOHVCopy line 51, Part 8.                                           BBBBBBBBBBBBBBB                                             
    5HDOSURSHUW\Copy line 56, Part 9. .Î                 UNKNOWN
                                                                                                                                                     BBBBBBBBBBBBBBBB           
                                                                                                                UNKNOWN
    ,QWDQJLEOHVDQGLQWHOOHFWXDOSURSHUW\Copy line 66, Part 10.                                       BBBBBBBBBBBBBBB                                             
                                                                                                                112,445.02
    $OORWKHUDVVHWV Copy line 78, Part 11.                                                       +    BBBBBBBBBBBBBBB                                             
                                                                                                               1,418,574.34                              UNKNOWN
    7RWDO$GGOLQHVWKURXJKIRUHDFKFROXPQD                   BBBBBBBBBBBBBBB            +   E
                                                                                                                                                     BBBBBBBBBBBBBBBB   


      


    7RWDORIDOOSURSHUW\RQ6FKHGXOH$%/LQHVDE 
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                                                   Schedule7(b)ͲCreditBalancesfromVendors

        Vendor                                 Address                       AccountNumber(Last4Digits) CreditBalance
AmericanExpress        P.O.Box360001,Ft.Lauderdale,FL33336Ͳ0001                                 1004         106.71
TexasStateTreasurer   1001Preston,Rm653,Houston,TX77002                                        4003            0.43
                                                                            Total                                   107.14
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  *HR7UDFH7HFKQRORJLHV,QF                          Case 16-36419 Document 10 Filed  in TXSB
                                                                                 6FKHGXOH F   on 12/30/16 Page 25 of 98
  &DVH1R                                                                    3UHSDLG([SHQVHVDVRI(IIHFWLYH'DWHRI6HSWHPEHU


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3UHSDLG([SHQVH0XOWLSOH0RQWKV                                                                                     '(6&5,37,21                $&&7                      %$/$1&(                        'DWH$GGHG
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3UHSDLG([SHQVHIRU2QH0RQWK                                                                                       '(6&5,37,21                $&&7                   %$/$1&(
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+3/HDVH6FK$,QY                                                                     2FW                                                
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'XII$QG3KHOSV6HFXULWLHV$$                                                                                       "                            "                                            1RY
CSI Partial pmt made theu AP JE#78393 ( Will clear with a CM in AP)                                                    Aug-16                         ?                            10,000.00
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&LWUL[H[S2FW6%H[SLQVHSWEXWZDVPLVVHG                                                            2FW                                                
&LWUL[H[S2FW6%H[SLQVHSWEXWZDVPLVVHG                                                            2FW                                                 
&6,2FW5HQWDO                                                                                                          2FW                                             


3D\UROO5HFXUULQJ-(  -XO\ 5HWHQWLRQERQXV                                                         9DULRXV                                                              -XO
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2.&LW\7KXQGHU6HDVRQ7NW3PW -*XOO\(5 JDPH                                          PRQWKO\GXULQJVHDVRQ             9DULRXV                                               $SU


7H[DV5DQJHUV6HDVRQ7NWV $$GDPV(5'HF JDPHVVHDVRQ                                    PRQWKO\GXULQJVHDVRQ             9DULRXV                            


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  *HR7UDFH7HFKQRORJLHV,QF     Case 16-36419 Document 10 Filed  in TXSB
                                                            6FKHGXOH F   on 12/30/16 Page 26 of 98
  &DVH1R                                 3UHSDLG([SHQVHVDVRI(IIHFWLYH'DWHRI6HSWHPEHU




0LVFHOODQHRXV                                                                   '(6&5,37,21                 $&&7     %$/$1&(                                  'DWH$GGHG
N)RUIHLWXUHV                                                                                                          
0LVF$GM                                                                                                                     


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9(1(=8(/$0,6&35(3$,'(;3(16(6                                                 '(6&5,37,21                $&&7    %$/$1&(                                  'DWH$GGHG



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%5$=,/0,6&35(3$,'(;3(16(6                                                    '(6&5,37,21                 $&&7     %$/$1&(                                  'DWH$GGHG
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75,1,'$'0,6&35(3$,'(;3(16(6                                                  '(6&5,37,21                 $&&7     %$/$1&(                                  'DWH$GGHG


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                                      5(&21%DODQFHDVRI                                                 
                                    %DODQFH3HU6HSW&RQVRO%6                                                        
                                                                   '                                                                  




                                                                           3DJHRI
System:        10/25/2016            11:21:19 AM                                  DETAIL HISTORICAL AGED TRIAL BALANCE                                                                           Page:         1
User Date:     9/30/2016                                                                                                                                                                         User ID:      PGENTRY
                                                                                                                                                      SCHEDULE 11
                                                           Case 16-36419 Document 10 7HFKQRORJLHV
                                                                              *HRWUDFH Filed in TXSB
                                                                                                   ,QF on 12/30/16 Page 27 of 98
                                                                                                  5HFHLYDEOHV 0DQDJHPHQW

  Ranges:
    Customer ID:            3-TEXP410 - ZINNPE420                           User-Defined 1:    First - Last                                                     State:            First - Last
    Customer Class:         First - Last                                    Customer Name:     First - Last                                                     Telephone:        First - Last
    Salesperson ID:         First - Last                                    Short Name:        First - Last                                                     ZIP Code:         First - Last
    Sales Territory:        First - Last                                    Posting Date:      First - 9/30/2016
  Account Type: All                                                      Customer:     by Customer ID
  Aging Date:      9/30/2016                                             Document:     by Document Number
  Print Currency In: Reporting (USDOLLAR 1.0*)
  Exclude:         Zero Balance, No Activity, Fully Paid Documents, Unposted Applied Credit Documents, Multicurrency Info


  * - Indicates an unposted credit document that has been applied.

  Customer:      7(;3                                   Name:       7 (;3/25$7,21 ,1&                                         Account Type:        2SHQ ,WHP
      User-Defined 1:                                            Salesperson:                                      Credit:              8QOLPLWHG
      Contact:        -(55< +,&.0$1                              Territory:      
      Phone:             ([W                     Terms:


  Document Number             Type        Date                 Amount           Discount           Writeoff                  Current      31 - 60 Days             61 - 90 Days                  91 and Over
                    6/6                                                                                                                                                

                                                                                                                                                                                                                           Balance
                                                                                              Totals:                          $0.00                $0.00                $0.00                     $9,000.00              $9,000.00

  Customer:      %23&2/                                   Name:       %23&2 / 3                                                     Account Type:        2SHQ ,WHP
      User-Defined 1:                                            Salesperson:                                      Credit:              8QOLPLWHG
      Contact:        -2+1 %$17$                                 Territory:      
      Phone:             ([W                     Terms:          1(7 


  Document Number             Type        Date                 Amount           Discount           Writeoff                  Current      31 - 60 Days             61 - 90 Days                  91 and Over
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                                                                                                                                                                                                                           Balance
                                                                                              Totals:                   $13,038.75                  $0.00                $0.00                         $0.00             $13,038.75

  Customer:      %25'(5                                   Name:       %25'(5 72 %25'(5 352'8&7,21                                   Account Type:        2SHQ ,WHP
      User-Defined 1:                                            Salesperson:                                      Credit:              8QOLPLWHG
      Contact:        6$0 $//(1                                  Territory:      
      Phone:            ([W                      Terms:          1(7 


  Document Number             Type        Date                 Amount           Discount           Writeoff                  Current      31 - 60 Days             61 - 90 Days                  91 and Over
                    6/6                                                                                                                                                

                                                                                                                                                                                                                           Balance
                                                                                              Totals:                          $0.00                $0.00                $0.00                     $8,000.00              $8,000.00

  Customer:      &$/<;(                                   Name:       &$/<; (1(5*< ,,, //&                                          Account Type:        2SHQ ,WHP
      User-Defined 1:                                            Salesperson:                                      Credit:              8QOLPLWHG
      Contact:        /25$1 6&+0,'7                              Territory:      
      Phone:             ([W                     Terms:          1(7 


  Document Number             Type        Date                 Amount           Discount           Writeoff                  Current      31 - 60 Days             61 - 90 Days                  91 and Over
                    6/6                                                                      

                                                                                                                                                                                                                           Balance
                                                                                              Totals:                    $4,075.00                  $0.00                $0.00                         $0.00              $4,075.00
System:        10/25/2016          11:21:19 AM                            DETAIL HISTORICAL AGED TRIAL BALANCE                                                   Page:         2
User Date:     9/30/2016                                                                                                                                         User ID:      PGENTRY
                                                                       *HRWUDFH
                                                    Case 16-36419 Document 10 7HFKQRORJLHV ,QF on 12/30/16 Page 28 of 98
                                                                                Filed in TXSB
  Customer:      &+(63.                           Name:        &+(6$3($.( (1(5*< &253                             Account Type:        2SHQ ,WHP
      User-Defined 1:                                    Salesperson:   86$                       Credit:              8QOLPLWHG
      Contact:        &+8&. 526(                         Territory:     
      Phone:            ([W              Terms:         1(7 


  Document Number           Type        Date           Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
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                                                                                                                                                                                            Balance
                                                                                   Totals:             $69,000.00                  $0.00                $0.00          $0.00              $69,000.00

  Customer:      &21'25                           Name:        &21'25 5(6285&(6 ,1&                               Account Type:        2SHQ ,WHP
      User-Defined 1:                                    Salesperson:                             Credit:              8QOLPLWHG
      Contact:        67$1 6&$57+                        Territory:     
      Phone:            ([W              Terms:         1(7 


  Document Number           Type        Date           Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
                  6/6                                                       

                                                                                                                                                                                            Balance
                                                                                   Totals:              $1,200.00                  $0.00                $0.00          $0.00               $1,200.00

  Customer:      &217,1                           Name:        &217,1(17$/ 5(6285&(6                               Account Type:        2SHQ ,WHP
      User-Defined 1:                                    Salesperson:                             Credit:              8QOLPLWHG
      Contact:        .(1 $,16:257+                      Territory:     
      Phone:            ([W              Terms:         1(7 


  Document Number           Type        Date           Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
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                                                                                                                                                                                            Balance
                                                                                   Totals:             $91,440.00                  $0.00                $0.00          $0.00              $91,440.00

  Customer:      '20((1                           Name:        '20( (1(5*<                                         Account Type:        2SHQ ,WHP
      User-Defined 1:                                    Salesperson:                             Credit:              8QOLPLWHG
      Contact:        3$8/ 025&+                         Territory:     
      Phone:            ([W              Terms:         1(7 


  Document Number           Type        Date           Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
                     6/6                                                                                                              

                                                                                                                                                                                            Balance
                                                                                   Totals:                    $0.00                $0.00                $0.00    $275,000.00             $275,000.00

  Customer:      (1(5*                            Name:        (1(5*< ;;,                                          Account Type:        2SHQ ,WHP
      User-Defined 1:                                    Salesperson:                             Credit:              8QOLPLWHG
      Contact:        -$&. '($16                         Territory:     
      Phone:             ([W             Terms:         1(7 


  Document Number           Type        Date           Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
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                                                                                   Totals:                    $0.00                $0.00                $0.00     $31,209.00              $31,209.00
System:        10/25/2016          11:21:19 AM                             DETAIL HISTORICAL AGED TRIAL BALANCE                                                   Page:         3
User Date:     9/30/2016                                                                                                                                          User ID:      PGENTRY
                                                                        *HRWUDFH
                                                     Case 16-36419 Document 10 7HFKQRORJLHV ,QF on 12/30/16 Page 29 of 98
                                                                                 Filed in TXSB
  Customer:      (2*0,'                            Name:       (2* 5(6285&(6 0,'/$1'                               Account Type:        2SHQ ,WHP
      User-Defined 1:                                     Salesperson:                             Credit:              1RQH
      Contact:        7(55< .,1*+721                      Territory:     
      Phone:             ([W              Terms:


  Document Number           Type        Date            Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
                  6/6                                                        

                                                                                                                                                                                            Balance
                                                                                    Totals:              $5,000.00                  $0.00                $0.00          $0.00              $5,000.00

  Customer:      (523(                             Name:       (5 23(5$7,1* &203$1<                                 Account Type:        2SHQ ,WHP
      User-Defined 1:                                     Salesperson:                             Credit:              1RQH
      Contact:        $1'< %(//                           Territory:     
      Phone:            ([W               Terms:


  Document Number           Type        Date            Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
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                                                                                                                                                                                            Balance
                                                                                    Totals:             $15,000.00                  $0.00                $0.00          $0.00             $15,000.00

  Customer:      */$&,                             Name:       */$&,(5 2,/                                          Account Type:        2SHQ ,WHP
      User-Defined 1:                                     Salesperson:                             Credit:              8QOLPLWHG
      Contact:        '$1 0255,6                          Territory:     
      Phone:            ([W               Terms:         1(7 


  Document Number           Type        Date            Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
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                                                                                                                                                                                            Balance
                                                                                    Totals:             $14,160.00                  $0.00                $0.00          $0.00             $14,160.00

  Customer:      +,/&253                           Name:       +,/&253 $/$6.$                                       Account Type:        2SHQ ,WHP
      User-Defined 1:                                     Salesperson:                             Credit:              8QOLPLWHG
      Contact:        67(9( '((7=                         Territory:     
      Phone:            ([W               Terms:         1(7 


  Document Number           Type        Date            Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
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                                                                                                                                                                                            Balance
                                                                                    Totals:                  ($0.30)                $0.00                $0.00          $0.00                ($0.30)

  Customer:      /$5('2                            Name:       /$5('2 (1(5*<                                        Account Type:        2SHQ ,WHP
      User-Defined 1:                                     Salesperson:                             Credit:              8QOLPLWHG
      Contact:        -2+1 +(11(66(<                      Territory:     
      Phone:             ([W              Terms:         1(7 


  Document Number           Type        Date            Amount           Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days   91 and Over
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                                                                                                                                                                                            Balance
                                                                                    Totals:             $36,414.00                  $0.00                $0.00          $0.00             $36,414.00
System:        10/25/2016          11:21:19 AM                                DETAIL HISTORICAL AGED TRIAL BALANCE                                                      Page:         4
User Date:     9/30/2016                                                                                                                                                User ID:      PGENTRY
                                                                          *HRWUDFH
                                                       Case 16-36419 Document 10 7HFKQRORJLHV ,QF on 12/30/16 Page 30 of 98
                                                                                   Filed in TXSB
  Customer:      2;<86$                              Name:        2;< 86$ ,1&                                        Account Type:        2SHQ ,WHP
      User-Defined 1:                                       Salesperson:                              Credit:              8QOLPLWHG
      Contact:        '$9,' 60,7+                           Territory:      
      Phone:            ([W                 Terms:          1(7 


  Document Number           Type        Date              Amount            Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days      91 and Over
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                                                                                                                                                                                                   Balance
                                                                                       Totals:             $63,441.00                  $0.00               $36,262.50         $0.00              $99,703.50

  Customer:      67($/7                              Name:        67($/7+ ,1&25325$7('                                 Account Type:        2SHQ ,WHP
      User-Defined 1:                                       Salesperson:                              Credit:              8QOLPLWHG
      Contact:        %,// 0853+5((                         Territory:      
      Phone:            ([W                 Terms:          1(7 


  Document Number           Type        Date              Amount            Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days      91 and Over
                  6/6                                                           

                                                                                                                                                                                                   Balance
                                                                                       Totals:              $4,300.00                  $0.00                   $0.00          $0.00               $4,300.00

  Customer:      7*6                                 Name:        7*6                                                  Account Type:        2SHQ ,WHP
      User-Defined 1:                                       Salesperson:                              Credit:              1RQH
      Contact:        :D\QH 0LOOLFH                         Territory:      
      Phone:            ([W                 Terms:


  Document Number           Type        Date              Amount            Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days      91 and Over
                  6/6                                                                                                                    

                                                                                                                                                                                                   Balance
                                                                                       Totals:                    $0.00                $0.00                   $0.00    $130,000.00             $130,000.00

  Customer:      :)'2,/                              Name:        :)' 2,/ &203$1<                                      Account Type:        2SHQ ,WHP
      User-Defined 1:                                       Salesperson:                              Credit:              1RQH
      Contact:        720 +(66                              Territory:      
      Phone:             ([W                Terms:


  Document Number           Type        Date              Amount            Discount       Writeoff             Current      31 - 60 Days             61 - 90 Days      91 and Over
              6/6                                                                                                          
      3<017                                                                                                                       
              6/6                                                             
System:      10/25/2016   11:21:19 AM                    DETAIL HISTORICAL AGED TRIAL BALANCE                                  Page:        5
User Date:   9/30/2016                                                                                                         User ID:     PGENTRY
                                                           *HRWUDFH
                                        Case 16-36419 Document 10 7HFKQRORJLHV ,QF on 12/30/16 Page 31 of 98
                                                                    Filed in TXSB
                                                                                                                                                        Balance
                                                                Totals:          $35,000.00          $0.00       $5,000.00          $0.00             $40,000.00


                                                              Customer(s)         Current     31 - 60 Days   61 - 90 Days    91 and Over               Balance
                                         Grand Totals:                    18   $352,068.45          $0.00     $41,262.50     $453,209.00          $846,539.95
            Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 32 of 98
GeoTraceTechnologies,Inc.                                 Schedule15
CaseNo.16Ͳ36419                       'd/Subsidiaries


                                          %of                 Valuationmethodused   Currentvalueof
         NameofEntity                ownership                  forcurrentvalue     debtor'sinterest

   TigressGeosciences,Ltd(GDIS)           100%                               N/A          UNKNOWN
     GeotraceInternational,Inc.            100%                               N/A          UNKNOWN
       GeotracedeVenezuela                 100%                               N/A          UNKNOWN
  GeotraceOilExplorationServices,
                S.A.E.                       100%                               N/A          UNKNOWN
     GeotraceTechnologies,Ltd.             100%                               N/A          UNKNOWN
      GeotraceTrinidadLimited              49%                                N/A          UNKNOWN




                                                         Page1of1
                                  Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 33 of 98
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&DVH1R                                             2IILFH)XUQLWXUHDVRI(IIHFWLYH'DWHRI6HSWHPEHU



                                               OFFICE FURNITURE
LOCATION - DALLAS
  Asset ID        Add Date                         Description                      G/L Acct         Loc.         Life      Acquired Value      Accum Depr       Book Value
    1815          11/1/2000    Conference Table & Chairs                            1710-410        DALL 1        FF7               $4,324.92        $4,324.92            $0.00

    1868          3/31/2006    (4) LOW-BACK SCOOP CHAIRS                            1710-410        DALL 1        FF7               $1,980.23        $1,980.23            $0.00

    1881          1/31/2007    OFFICE FURNITURE                                     1710-410        DALL 1        FF7               $2,117.12        $2,117.12            $0.00

    1883          10/31/2007   OFFICE FURNITURE - A ADAMS                           1710-410        DALL 1        FF7               $1,966.91        $1,966.91            $0.00

    1884          1/31/2008    12FT CONF TABLE & 18 CHAIRS                          1710-410        DALL 1        FF7               $4,105.24        $4,105.24            $0.00

    1637          10/1/2012    TV - DALLAS                                          1710-410        DALL 1        FF5             $10,872.83         $7,802.64         $3,070.19

    1885          12/1/2012    8-18"x47.5" Tables+16 Blk Leather Chairs             1710-410        DALL 1        FF7               $6,579.34        $2,681.40         $3,897.94

                                                                                                                                  $31,946.59        $24,978.46        $6,968.13




                                                                                     3DJHRI
                                   Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 34 of 98
*HR7UDFH7HFKQRORJLHV,QF                                                    6FKHGXOH
&DVH1R                                      2IILFH)XUQLWXUHDVRI(IIHFWLYH'DWHRI6HSWHPEHU


                                                                     OFFICE FURNITURE
LOCATION - WICKCHESTER (HOUSTON)
                                                                                                                                        $42,643.00

  Asset ID    Add Date                       Description                       G/L Acct        Loc.         Life     Acquired Value     Accum Depr       Book Value

    1634       7/1/2011   SHARP 52" LED TV-RECEPTION AREA                      1710-910       HSTN 1        FF5             $2,936.66        $2,743.80         $192.86

    1635       7/1/2011   SHARP 60" LED TV-CAFETERIA                           1710-910       HSTN 1        FF5             $3,596.75        $3,360.58         $236.17

    1636       7/1/2011   SHARP 52" LED TV - BOARDROOM                         1710-910       HSTN 1        FF5             $2,936.67        $2,743.80         $192.87

    1800      11/1/1997   10XEXECUTIVE CHAIRS & 2XCONFERENCE TABLE             1710-510       HSTN 1        FF7             $4,433.92        $4,433.92           $0.00

    1801      12/1/1997   EXECUTIVE DESK & CHAIR                               1710-650       HSTN 1        FF7             $1,363.95        $1,363.95           $0.00

    1802       4/1/1998   OFFICE SET                                           1710-910       HSTN 1        FF7             $3,568.00        $3,568.00           $0.00

    1803       9/1/1998   OFFICE SET                                           1710-910       HSTN 1        FF7             $1,449.62        $1,449.62           $0.00

    1804      12/1/1998   OFFICE FURNITURE - 10 CHAIRS, 2 DESKS, 2             1710-510       HSTN 1        FF7             $3,064.75        $3,064.75           $0.00

    1805      12/1/1998   10 GUEST CHAIRS                                      1710-510       HSTN 1        FF7             $1,650.00        $1,650.00           $0.00

    1806       4/1/1999   SOFA AND CHAIR                                       1710-910       HSTN 1        FF7             $2,534.42        $2,534.42           $0.00

    1807       8/1/1999   CONFERENCE TABLE & CHAIRS                            1710-510       HSTN 1        FF7             $1,463.54        $1,463.54           $0.00

    1808       8/1/1999   OFFICE SET                                           1710-910       HSTN 1        FF7             $1,312.27        $1,312.27           $0.00

    1809       1/1/2000   4XBOOKCASES                                          1710-420       HSTN 1        FF7              $943.50          $943.50            $0.00

    1810       1/1/2000   CONFERENCE TABLE & 6XCHAIRS                          1710-420       HSTN 1        FF7             $2,110.00        $2,110.00           $0.00

    1811       1/1/2000   4XDESKS & 4XCREDENZAS                                1710-420       HSTN 1        FF7             $3,732.75        $3,732.75           $0.00

    1812       3/1/2000   KNEESPACE CREDENZA                                   1710-910       HSTN 1        FF7             $1,431.88        $1,431.88           $0.00

    1813       6/1/2000   DESK & CREDENZA                                      1710-420       HSTN 1        FF7              $775.56          $775.56            $0.00

    1816       8/1/2001   OFFICE SET                                           1710-420       HSTN 1        FF7             $1,200.37        $1,200.37           $0.00

    1817       8/1/2001   OFFICE SET                                           1710-510       HSTN 1        FF7             $1,026.08        $1,026.08           $0.00

    1818       9/1/2001   4 - COMPUTER TABLES & CHAIRS                         1710-910       HSTN 1        FF7             $3,047.65        $3,047.65           $0.00

    1819      10/1/2001   OFFICE SET                                           1710-510       HSTN 1        FF7              $794.49          $794.49            $0.00

    1820      10/1/2001   OFFICE SET                                           1710-420       HSTN 1        FF7              $909.30          $909.30            $0.00

    1821       5/1/2002   OFFICE SET                                           1710-910       HSTN 1        FF7             $1,120.24        $1,120.24           $0.00

    1822       5/1/2002   OFFICE SET                                           1710-910       HSTN 1        FF7             $1,120.24        $1,120.24           $0.00

    1823       5/1/2002   OFFICE SET                                           1710-910       HSTN 1        FF7             $1,391.45        $1,391.45           $0.00

    1824       8/1/2002   OFFICE SET                                           1710-420       HSTN 1        FF7             $1,316.18        $1,316.18           $0.00




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                                    Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 35 of 98
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&DVH1R                                     2IILFH)XUQLWXUHDVRI(IIHFWLYH'DWHRI6HSWHPEHU

    1825       8/1/2002    OFFICE SET                                        1710-420        HSTN 1        FF7       $1,316.19    $1,316.19   $0.00

    1826       8/1/2002    CREDENZA/STORAGE HUTCH-T. TERRY                   1710-510        HSTN 1        FF7       $3,113.81    $3,113.81   $0.00

    1827       8/1/2002    6 SIDE CHAIRS - T. TERRY                          1710-510        HSTN 1        FF7       $1,461.38    $1,461.38   $0.00

    1828       8/1/2002    OFFICE SET                                        1710-510        HSTN 1        FF7       $1,765.46    $1,765.46   $0.00

    1829       8/1/2002    OFFICE SET - Z. SWOPE                             1710-420        HSTN 1        FF7       $4,027.45    $4,027.45   $0.00

    1830       8/1/2002    OFFICE SET - J. ASMA                              1710-510        HSTN 1        FF7       $2,385.56    $2,385.56   $0.00

    1831       8/1/2002    OFFICE WORK TABLES (7)                            1710-580        HSTN 1        FF7       $1,576.77    $1,576.77   $0.00

    1832       9/1/2002    OFFICE SET - T. HOLCOMBE                          1710-420        HSTN 1        FF7       $1,489.30    $1,489.30   $0.00

    1833      11/1/2002    OFFICE SET - R. HORN                              1710-510        HSTN 1        FF7       $1,101.87    $1,101.87   $0.00

    1834      11/1/2002    8 MAHOGANY GREEN SIDE CHAIRS                      1710-420        HSTN 1        FF7       $1,372.61    $1,372.61   $0.00

    1835       9/1/2003    OFFICE SET                                        1710-510        HSTN 1        FF7        $718.73      $718.73    $0.00

    1836      11/1/2003    OFFICE SET - D. SMOLEANU                          1710-510        HSTN 1        FF7       $1,028.32    $1,028.32   $0.00

    1837       2/1/2004    OFFICE SET                                        1710-510        HSTN 1        FF7       $1,060.58    $1,060.58   $0.00

    1838       2/1/2004    OFFICE SET                                        1710-510        HSTN 1        FF7       $1,060.58    $1,060.58   $0.00

    1839       7/1/2004    OFFICE SET                                        1710-420        HSTN 1        FF5       $5,193.84    $5,193.84   $0.00

    1840       8/1/2004    OFFICE SET                                        1710-220        HSTN 1        FF7       $1,802.85    $1,802.85   $0.00

    1841       8/1/2004    OFFICE SET                                        1710-420        HSTN 1        FF7       $1,249.69    $1,249.69   $0.00

    1842      11/30/2004   CONFERENCE ROOM TABLE/CHAIRS (RS)                 1710-420        HSTN 1        FF7       $8,921.97    $8,921.97   $0.00

    1843      11/30/2004   OFFICE FURNITURE - B. SCHROM                      1710-910        HSTN 1        FF7       $8,081.95    $8,081.95   $0.00

    1844      1/31/2005    BOOTH-GRAPHICS & DESIGN-NAPE TRADE SHOW           1710-750        HSTN 1        FF7      $14,199.69   $14,199.69   $0.00

    1845      1/31/2005    GUEST CHAIR & OPEN BACK CHAIR-B.SCHROM            1710-910        HSTN 1        FF7       $1,712.50    $1,712.50   $0.00

    1846      2/28/2005    BUFFET FOR MAIN CONFERENCE ROOM                   1710-910        HSTN 1        FF7       $2,013.45    $2,013.45   $0.00

    1847      1/31/2005    BOOTH GRAPHICS & DESIGH-NAPE TRADE SHOW           1710-750        HSTN 1        FF7      $13,604.32   $13,604.32   $0.00

    1848      3/31/2005    RECEPTION DESK & COMPUTER                         1710-910        HSTN 1        FF7       $2,359.85    $2,359.85   $0.00

    1849      4/30/2005    OFFICE SET                                        1710-420        HSTN 1        FF7       $1,123.63    $1,123.63   $0.00

    1850      4/30/2005    OFFICE SET                                        1710-510        HSTN 1        FF7       $1,123.64    $1,123.64   $0.00

    1851      4/30/2005    OFFICE SET                                        1710-510        HSTN 1        FF7       $1,123.64    $1,123.64   $0.00

    1852      4/30/2005    OFFICE SET                                        1710-510        HSTN 1        FF7       $1,946.34    $1,946.34   $0.00

    1853      4/30/2005    COMPUTER PRINTER STAND-B.SCHROM                   1710-910        HSTN 1        FF7        $980.75      $980.75    $0.00

    1856      5/31/2005    (3) BOOKCASES & BLACK EXEC. CHAIR                 1710-590        HSTN 1        FF7       $1,099.26    $1,099.26   $0.00

    1857      6/30/2005    4 DRAWER LATERAL FILE-S. LARSON                   1710-420        HSTN 1        FF7       $1,107.40    $1,107.40   $0.00




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                                    Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 36 of 98
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&DVH1R                                       2IILFH)XUQLWXUHDVRI(IIHFWLYH'DWHRI6HSWHPEHU

    1858      6/30/2005    DESK & CREDENZA (KAREN S.)                          1710-910        HSTN 1        FF7         $1,060.85      $1,060.85       $0.00

    1859      8/31/2005    OFFICE SET - J STEIN                                1710-655        HSTN 1        FF7         $1,163.69      $1,163.69       $0.00

    1860      8/31/2005    OFFICE SET - J WEIGANT                              1710-650        HSTN 1        FF7         $1,547.98      $1,547.98       $0.00

    1861      8/31/2005    DESK - TABLE - CHAIRS (EXE & GUEST)                 1710-590        HSTN 1        FF7         $1,156.64      $1,156.64       $0.00

    1862      8/31/2005    DESK - TABLE - CHAIRS (EXE & GUEST)                 1710-590        HSTN 1        FF7         $1,156.64      $1,156.64       $0.00

    1863      8/31/2005    DESK - TABLE - CHAIRS (EXE & GUEST)                 1710-590        HSTN 1        FF7         $1,156.64      $1,156.64       $0.00

    1864      8/31/2005    DESK - TABLE - CHAIRS - (EXE & GUEST)               1710-590        HSTN 1        FF7         $1,156.66      $1,156.66       $0.00

    1865      9/30/2005    SIGN W/ LOGO 1/4" BRASS GLD PLATED                  1710-910        HSTN 1         FF         $3,399.05      $3,399.05       $0.00

    1866      1/31/2006    (12) DELTA CHAIRS & (3) TRAVEL TABLES               1710-750        HSTN 1        FF7         $3,786.59      $3,786.59       $0.00

    1869      3/31/2006    2x WORK STATION, PED CHAIR                          1710-650        HSTN 1        FF7         $1,700.04      $1,700.04       $0.00

    1870      4/30/2006    OFFICE SUITE - GREG MCCRACKEN                       1710-910        HSTN 1        FF7         $1,325.72      $1,325.72       $0.00

    1871      4/30/2006    OFFICE SUITE - S ASHFORD                            1710-910        HSTN 1        FF7         $1,325.72      $1,325.72       $0.00

    1872      4/30/2006    OFFICE SUITE - WAY MATHEWS                          1710-915        HSTN 1        FF7         $1,325.71      $1,325.71       $0.00

    1873       4/3/2006    OFFICE SUITE - M GASKAMP                            1710-640        HSTN 1        FF7         $1,325.71      $1,325.71       $0.00

    1874      9/30/2006    OFFICE SET - S LAYNE                                1710-580        HSTN 1        FF7         $1,622.67      $1,622.67       $0.00

    1875      9/30/2006    OFFICE FURNITURE - ACCOUNTING - 910                 1710-910        HSTN 1        FF7        $17,235.57     $17,235.57       $0.00

    1876      1/31/2007    OFFICE FURNITURE - EXEC SUITES - 1ST FL             1710-910        HSTN 1        FF7        $25,976.99     $25,976.99       $0.00

    1877      1/31/2007    OFFICE FURNITURE                                    1710-915        HSTN 1        FF7         $1,000.74      $1,000.74       $0.00

    1878      1/31/2007    OFFICE FURNITURE                                    1710-655        HSTN 1        FF7         $4,002.91      $4,002.91       $0.00

    1879      1/31/2007    OFFICE FURNITURE                                    1710-750        HSTN 1        FF7         $1,000.73      $1,000.73       $0.00

    1880      1/31/2007    OFFICE FURNITURE                                    1710-754        HSTN 1        FF7        $12,008.73     $12,008.73       $0.00

    1882      10/31/2007   OFFICE FURNITURE - K YOUNG & J CANTU                1710-910        HSTN 1        FF7         $5,298.84      $5,298.84       $0.00

    1888      1/31/2014    RECEPTION DESK AND FILE PEDESTAL                    1710-910        HSTN 1        FF5          $919.04        $399.13      $519.91

    1889      1/31/2014    BOOTH FURNITURE                                     1710-750        HSTN 1        FF5         $2,721.10      $1,181.78   $1,539.32



                                                                                                                      $236,728.58    $234,047.45    $2,681.13




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                                  Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 37 of 98
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&DVH1R                                    2IILFH)L[WXUHVDVRI(IIHFWLYH'DWHRI6HSWHPEHU


                                                                OFFICE FIXTURES
LOCATION -Excaliber Exhibits, 7120 Brittmoore Rd, Houston TX
                                                                                                                                     $42,643.00

  Asset ID    Add Date                     Description                     G/L Acct          Loc.        Life     Acquired Value     Accum Depr       Book Value

    1887      9/30/2013   CONVENTION BOOTH (EXCALIBER)-Pt 1                1710-750        HSTN 1         FF7           $19,323.28        $4,245.70       $15,077.58
    1887      9/30/2013   CONVENTION BOOTH (EXCALIBER)-Pt 2                1710-750        HSTN 1         FF7           $12,882.18        $4,040.23        $8,841.95
                                                                                                                       $32,205.46        $8,285.93       $23,919.53




                                                                            3DJHRI
                                    Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 38 of 98
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&DVH1R                                2IILFH(TXLSPHQWDVRIWKH(IIHFWLYH'DWHRI6HSWHPEHU

                                           COMPUTER EQUIP
          /2&$7,21'$//$6
                                                                                                  $FTXLVWLRQ                        AccumDepr
 &HQWHU    $VVHW,'            1DPH                   0RGHO           6HUYLFH7DJ    $VVHW7DJ       'DWH          AcquiredValue    asof9Ͳ30Ͳ16 NetBookValue
                   6KLSSLQJ             'HOO'LPHQVLRQ        &00%1%                                                    
                   5HFHSWLRQ            'HOO'LPHQVLRQ         ;%5&                                                   
                   &RQIHUHQFH5RRP      'HOO2SWLSOH[            ;31;9          1$                                          
                   -DNH&DVKLRQ         'HOO3UHFLVLRQ7        7%*<5          1$                                          
                   9,=5RRP             'HOO2SWLSOH[            ;50;9          1$                                          
                   5XVV&UHDWK          'HOO3UHFLVLRQ7        ;3*=          1$                                          
                   -DVRQ+XQWVPDQ       'HOO3UHFLVLRQ7        '+5;          1$                                          
                   7UL'XRQJ            'HOO3UHFLVLRQ7        :'=          1$                                          
                   569L]5RRP          'HOO3UHFLVLRQ          0&                                                       
                   *DU\3HUU\           'HOO3UHFLVLRQ7        7*6           1$                                         
                   0RUJDQ.HQQHG\       'HOO3UHFLVLRQ7        +:.9           1$                                         
                   7RP/DQJVWRQ         /DWLWXGH(              937:           1$                                         
                   0LQ;X               'HOO3UHFLVLRQ7         5          1$                                         
                   5LFKDUG+DQVRQ       'HOO3UHFLVLRQ7         );          1$                                         
                   &DOYLQ-R\QHU        /DWLWXGH(               /9;=          1$                                         
                   'LOORQ/D)R\         /DWLWXGH(               '          1$                                         
                   6DOHV                'HOO,QVSLURQP          -%.&           1$                                         
             8QXVHG2IILFH    'HOO2SWLSOH[*;          3/%                              10,290.28        10,290.28          



               %ULDQ-DPHV          'HOO2SWLSOH[            <          1$                      2,703.39         2,703.39          

               (PSW\2IILFH         'HOO2SWLSOH[           &4)*           1$                      1,476.79         1,476.79          
               (PSW\2IILFH         'HOO3UHFLVLRQ7        ))3:&+           1$                      1,580.01         1,580.01          
               'DYLG=HUZLQ         'HOO3UHFLVLRQ7        )-21+           1$                      1,568.74         1,568.74          




               %ULDQ%HKUPDQ        'HOO3UHFLVLRQ7        -.1;4           1$                      3,688.84         3,688.84          
               'DOH)OHQWKURSH      'HOO3UHFLVLRQ7        -:*;           1$                                         
               *UHJ0F&OXUH         'HOO3UHFLVLRQ7        +'9<4           1$                                         
               %ULDQ:LOOLDPV       'HOO3UHFLVLRQ7        %335           1$                      2,073.44         2,073.44          




               5RU\+RZDUG          'HOO3UHFLVLRQ7        -:*;           1$                      1,394.11         1,394.11          
               %HFN\%XHKQHU        'HOO3UHFLVLRQ7        %)9           1$                      1,700.61         1,700.61          



                                                                          3DJHRI
                                Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 39 of 98
*HR7UDFH7HFKQRORJLHV,QF                                                6FKHGXOH
&DVH1R                                 2IILFH(TXLSPHQWDVRIWKH(IIHFWLYH'DWHRI6HSWHPEHU




              %HQ3HWHUVRQ         'HOO3UHFLVLRQ7          -:+;           1$                 3,119.95     3,119.95      
              $QGUH+DPLOWRQ       'HOO3UHFLVLRQ7          /);                           1,675.60     1,675.60      
              %ULDQ-DPHV          'HOO3UHFLVLRQ7           <          1$                 1,524.02     1,524.02      
              -DVRQ&KLGODZ        'HOO3UHFLVLRQ7          ;)*           1$                 1,524.03     1,524.03      
              :LOOLDP5RXJK        'HOO3UHFLVLRQ7         =4:4:                            1,524.03     1,524.03      
              %DUEDUD0RRUH        'HOO3UHFLVLRQ7          &5           1$                 1,215.14     1,181.39     


                                      Dell Precision T3610                                                1,633.50     1,406.63    
                                      Dell Precision T3600                                                1,648.23     1,465.09    
             1350                         OPTILPLEX 7010                                                        751.46       667.96     
             1376                         Dell Precision T3610                                                1,799.33     1,299.52    
              (ULQ7D\ORU          /DWLWXGH(                %1           1$                 1,726.38     1,246.83    
              5REHUW%XUJHU        /DWLWXGH(                '<)           1$                 1,965.96     1,419.86    
              $DURQ$GDPV          'HOO2SWLSOH[            ))/'=           1$                   751.46       542.72    
              0LFKHOOH%HQKD\RXQ   'HOO2SWLSOH[            '%02           1$                   879.25       659.44    
                  9LFNL0DOOHUW        'HOO2SWLSOH[            %=4<           1$                 2,187.51     2,065.98    


                                   0,&523+21(&21)(5(1&(6<67(0                                        4,760.30     3,577.79   

                                                                                                                            




                                                                           3DJHRI
*HR7UDFH7HFKQRORJLHV,QF
                                          Case 16-36419 Document 10 Filed   in TXSB on 12/30/16 Page 40 of 98
                                                                    6FKHGXOH
&DVH1R                                                  2IILFH(TXLSPHQWDVRIWKH(IIHFWLYH'DWHRI6HSWHPEHU




                                                        COMPUTER EQUIP
             /2&$7,21:,&.&+(67(5 +286721
                                                                                                                                                                         AccumDepr
    Rm#           Employee        Center     Type      Manufacturer         Model                 ServiceTag         AssetTag     AcquisitionDate   AcquiredValue   asof9Ͳ30Ͳ16 NetBookValue
                                        3RUW5HS       'HOO               ;             CN03Y645365213CI0167     N/A                          $400.00            $0.00        $0.00
                6*ULVW                 /7          'HOO          /DWLWXGH'             0;               269                        $3,394.19        $3,394.19        $0.00
                /'DYLV                 /7          'HOO          /DWLWXGH'             )*%;              1240                       $2,742.98        $2,742.98        $0.00
                                            /7          'HOO          /DWLWXGHP             ''%;              N/A                        $2,742.98        $2,742.98        $0.00
            'HERUDK:DONHU               /7          'HOO          /DWLWXGH'             )6               289                       $3,037.50        $3,037.50        $0.00
                                            /7          'HOO          /DWLWXGH'             -7&+               284                        $2,444.34        $2,444.34        $0.00
                67LQOH\                /7          'HOO          /DWLWXGH'             '10              1002                       $2,020.98        $2,020.98        $0.00



              -DLPH6WHLQ                               'HOO          /DWLWXGH'             '%/              N/A                        $2,199.00       $2,199.00         $0.00
               '$XEOH                 /7           'HOO          /DWLWXGH'             74              1094                       $2,955.20       $2,955.20         $0.00
             ,PDJH%DFNXS               '7           'HOO         2SWL3OH[*;            :%%5               1032                       $1,327.11       $1,327.11         $0.00
                                        '7           'HOO         2SWL3OH[*;            '*;               1017                        $1,431.08       $1,431.08         $0.00
              *HU\3HU\                 '7           'HOO         2SWL3OH[*;            &:<9               1025                       $1,344.47       $1,344.47         $0.00
             %7KRPDV                  /7           'HOO          /DWLWXGH'             );3              1049                       $2,462.80       $2,462.80         $0.00
               -3HUH]                 /7           'HOO          /DWLWXGH'            -;:               1070                        $2,437.58       $2,437.58         $0.00
            0DULQH0HHWLQJ              '7           'HOO         2SWL3OH[*;             )-+              1080                       $1,910.86       $1,910.86         $0.00
               $6WDOLQ                '7           'HOO         2SWL3OH[*;            *:+61               1068                        $2,856.40       $2,856.40         $0.00
                                        /7           'HOO          /DWLWXGH'            ''*70               1084                        $2,708.42       $2,708.42         $0.00
                                           /7           'HOO          /DWLWXGH'            &46               1076                       $2,244.42       $2,244.42         $0.00
                                        /7           'HOO          /DWLWXGH'            -<:6               1076                        $2,244.42       $2,244.42         $0.00
                *&KRQJ                '7           'HOO         2SWL3OH[*;            &69               1080                       $1,910.86       $1,910.86         $0.00
             *0FFUDFNHQ               /7           'HOO          /DWLWXGH'            ''               1096                       $2,938.46       $2,938.46         $0.00
                 -*XOO\               /7           'HOO          /DWLWXGH'            '.=5/               1236                       $1,680.65       $1,680.65         $0.00
              6WDFH\%DNHU              /7           'HOO         2SWL3OH[*;            1)1               1108                      $2,273.49       $2,273.49         $0.00
             +RQJZHL:DQJ               /7           'HOO          /DWLWXGH'            %%01               1098                      $2,673.88       $2,673.88         $0.00
                                        '7           'HOO         2SWL3OH[*;            -:&<               1074                       $2,544.82       $2,544.82         $0.00
                .=DKQ                 '7           'HOO         2SWL3OH[*;             %              1112                      $1,910.55       $1,910.55         $0.00
                %-RLQHU               '7           'HOO         2SWL3OH[*;             +               278                      $1,276.80       $1,276.80         $0.00



               5RQ)LVNH                '7           'HOO         2SWL3OH[*;             '%5              1121                        $2,773.28       $2,773.28         $0.00
             +RQJZHL:DQJ               '7           'HOO         2SWL3OH[*;             =07%              1124                       $2,949.71       $2,949.71         $0.00
              -DVRQ+RUQ                '7           'HOO         OptiPlexGX620             =07%              1183                       $2,157.41       $2,157.41         $0.00
                63$5(                   '7           'HOO         2SWL3OH[*;             =07%              1181                       $1,559.97       $1,559.97         $0.00
                                        /7           'HOO          /DWLWXGH'             %:+-              1067                       $2,385.95       $2,385.95         $0.00
                9&ODUN                 '7           'HOO         2SWL3OH[*;             5+              1092                       $1,055.46       $1,055.46         $0.00
            .\ULDNL([H]LGLV            '7           'HOO         2SWL3OH[*;             %5+              1148                       $1,656.28       $1,656.28         $0.00
                 RJones                '7           'HOO         2SWL3OH[*;             .44              1137                       $1,414.45       $1,414.45         $0.00
                                                        'HOO            ;36                 *-.=7              N/A                        $3,199.00       $3,199.00         $0.00
               */LQGVD\                /7           'HOO          /DWLWXGH'             &47)=              1159                       $2,192.51       $2,192.51         $0.00
              6+XPSKUH\               /7           'HOO          /DWLWXGH'             7&9%              1169                       $3,331.94       $3,331.94         $0.00



                                                                                            3DJHRI
*HR7UDFH7HFKQRORJLHV,QF
                                        Case 16-36419 Document 10 Filed   in TXSB on 12/30/16 Page 41 of 98
                                                                  6FKHGXOH
&DVH1R                                         2IILFH(TXLSPHQWDVRIWKH(IIHFWLYH'DWHRI6HSWHPEHU


               )UHG*RVV             '7     'HOO         2SWL3OH[*;              .-%             1152             $1,484.01   $1,484.01   $0.00
              7/DQJVWRQ            /7     'HOO          /DWLWXGH'             4;'%              1252            $1,826.45   $1,826.45   $0.00
                :<DQJ                      'HOO         2SWL3OH[*;             %%:&/%              1185             $2,110.07   $2,110.07   $0.00
                                        /7     'HOO          3UHFLVLRQ0             *:=3%              1168             $1,939.13   $1,939.13   $0.00
                  60D                      'HOO         2SWL3OH[*;             +.7%4%              1166             $1,925.14   $1,925.14   $0.00
                 -6WHLQ                    'HOO          /DWLWXGH'             %4%              1225             $2,199.65   $2,199.65   $0.00
                                            'HOO         2SWL3OH[*;             /%*&              1020            $2,365.26   $2,365.26   $0.00
                                        /7     'HOO          3UHFLVLRQ0             +1.-              N/A            $1,349.00   $1,349.00   $0.00
               $:DJQHU                     'HOO         2SWL3OH[*;             &6-&              1174            $1,772.50   $1,772.50   $0.00
             6WHZDUW:DOOHU                 'HOO         2SWL3OH[*;             )&&              1179           $1,979.05   $1,979.05   $0.00
                  )REV                      'HOO         2SWL3OH[*;              -4&             1149           $1,656.28   $1,656.28   $0.00
                6&DXGLOO                  'HOO         2SWL3OH[*;             4&              1182           $1,559.97   $1,559.97   $0.00
              -DQHOO&DQWX                  'HOO         2SWL3OH[*;             )./5&              1189            $1,899.00   $1,899.00   $0.00
              -%ORRPTXLVW                  'HOO          /DWLWXGH'             ):%&              1164           $2,472.46   $2,472.46   $0.00



             9LV5RRP                 'HOO         2SWL3OH[*;            %%%&&               1158             $2,225.64   $2,225.64   $0.00
                9LV5RRP                    'HOO          2SWL3OH[              )<3.&              1211            $1,295.61   $1,295.61   $0.00
              $QGUHZ/HZLV                  'HOO          2SWL3OH[             +6)0&               1203             $2,250.32   $2,250.32   $0.00
             'DYLG*RRGZLQ                  'HOO          2SWL3OH[              50&              1196             $1,990.28   $1,990.28   $0.00
                %6FKURP                   'HOO          2SWL3OH[              /50&              1197             $1,866.51   $1,866.51   $0.00
                 0%XUWRQ                   'HOO          2SWL3OH[             ):550&               1248             $1,626.97   $1,626.97   $0.00
 Reception3rd    %RDUG5RRP                    'HOO          2SWL3OH[             *<3.&               1212            $1,295.60   $1,295.60   $0.00
                                            'HOO          2SWL3OH[              -05<)              1274            $1,044.65   $1,044.65   $0.00
                0$JXLODU                   'HOO          2SWL3OH[             +&5&               1205            $1,866.51   $1,866.51   $0.00
                  9X+D                     'HOO          2SWL3OH[              15&              1207            $1,311.11   $1,311.11   $0.00
                7/RHKU                    'HOO          2SWL3OH[             +05&               1202            $2,616.14   $2,616.14   $0.00
              .HQ2UODVND                   'HOO          2SWL3OH[             ;315&               1202             $2,416.66   $2,416.66   $0.00
                %/LQKDUW                  'HOO          2SWL3OH[             ':315&               1201             $2,416.66   $2,416.66   $0.00
                 77RUR                     'HOO          2SWL3OH[             -:315&               1245             $2,064.01   $2,064.01   $0.00
               /L]KHQ-LQ                   'HOO          2SWL3OH[             '.;;&               1233             $1,840.79   $1,840.79   $0.00
                 =2OLYHU                   'HOO          2SWL3OH[             )&.;<&               1219            $2,616.15   $2,616.15   $0.00
                  ,PDJH                     'HOO          2SWL3OH[              3=&              1214            $1,496.36   $1,496.36   $0.00
             -RVKXD6FKURP                  'HOO          2SWL3OH[             &1*/'               1246             $2,404.34   $2,404.34   $0.00
              6WHYH&DXGLOO                 'HOO          2SWL3OH[             '1*/'               1230             $1,840.79   $1,840.79   $0.00
               65RWKURFN                   'HOO          2SWL3OH[              )1*/'              1216             $2,604.30   $2,604.30   $0.00
                                            'HOO          2SWL3OH[              /&&'              1238            $2,488.36   $2,488.36   $0.00
              /HH0LHVWHU                   'HOO          2SWL3OH[              <-'''              1235            $1,820.50   $1,820.50   $0.00
               -6DGOHU                     'HOO          /DWLWXGH'             &;/)'              1222             $2,430.83   $2,430.83   $0.00
                                               'HOO          2SWL3OH[              6='/'              1226            $1,683.75   $1,683.75   $0.00
              -DLPH6WHLQ                      'HOO          /DWLWXGH'             5799MD1              N/A             $2,199.00   $2,199.00   $0.00
                .3DWH                      'HOO          2SWL3OH[              94'              1228            $1,587.67   $1,587.67   $0.00
                                            'HOO          /DWLWXGH'             %=65'              1160            $2,562.04   $2,562.04   $0.00
               ')UDQNOLQ                   'HOO          2SWL3OH[              .<;'              1239           $1,673.81   $1,673.81   $0.00
               50F$UWKXU                   'HOO          /DWLWXGH'             +%6<'              1262           $2,036.95   $2,036.95   $0.00
                                            'HOO          2SWL3OH[              6.='              1249           $2,571.32   $2,571.32   $0.00
               -:HLJDQW                    'HOO          2SWL3OH[              7='              1284           $1,359.05   $1,359.05   $0.00



                                                                                   3DJHRI
*HR7UDFH7HFKQRORJLHV,QF
                                            Case 16-36419 Document 10 Filed   in TXSB on 12/30/16 Page 42 of 98
                                                                      6FKHGXOH
&DVH1R                                             2IILFH(TXLSPHQWDVRIWKH(IIHFWLYH'DWHRI6HSWHPEHU


                ')UDQNOLQ                      'HOO          /DWLWXGH'             -&)              1261           $1,826.44    $1,826.44   $0.00
                66YDWHN                        'HOO          LatitudeD630             /&)              1258           $1,826.45    $1,826.45   $0.00
              0RXQD*DUJRXUL                    'HOO          2SWL3OH[              +-%)              N/A             $1,044.65    $1,044.65   $0.00



                    *<X                        'HOO          /DWLWXGH'             09--)              1270            $2,355.55    $2,355.55   $0.00
                 -&RPDFKR                      'HOO          2SWL3OH[              *.9<)              1273            $1,044.65    $1,044.65   $0.00
                  &'HQNHU                      'HOO          2SWL3OH[              ''%*              1283            $1,913.56    $1,913.56   $0.00
             0DWWKHZ6WDQXORQLV                 'HOO         3UHFLVLRQ7            )/<1*              1285            $1,636.09    $1,636.09   $0.00
              $DURQ:KLWDNHU                    'HOO         3UHFLVLRQ7            ++=.5*              1287             $1,636.09    $1,636.09   $0.00
               5RHO0RUDOHV                     'HOO         3UHFLVLRQ7            0;*              1286            $1,636.09    $1,636.09   $0.00
 Reception2nd    0LFKHOOH*UDKDP                   'HOO          2SWL3OH[              &0.3+              1289            $1,634.06    $1,634.06   $0.00
                  6/DUVRQ                     'HOO         3UHFLVLRQ7            )'*6++              1294            $1,608.56    $1,608.56   $0.00
              $OYDUR5REOHGR                    'HOO         /DWLWXGH(             ))/5-+              1293            $2,345.11    $2,345.11   $0.00
                0DUN'KRVH                      'HOO         3UHFLVLRQ7            '04+              1296           $2,217.87    $2,217.87   $0.00
               23RFKLYDORY                     'HOO         3UHFLVLRQ7            377+              1299            $2,217.86    $2,217.86   $0.00
                                                'HOO          2SWL3OH[              7-:+              1300           $1,203.62    $1,203.62   $0.00



                                                'HOO          2SWL3OH[              +=:.                 N/A          $2,500.00    $2,500.00   $0.00



              9LV5RRP                    'HOO         3UHFLVLRQ7            ;)5          1311                $3,128.20    $3,128.20   $0.00


                                                'HOO        /DWLWXGH(              35'6          1314                $1,824.35    $1,824.35   $0.00
               :D\0DWKHZV                      'HOO       2SWL3OH[6))            =3.3:                 N/A          $799.00      $799.00    $0.00



                 $LPLQ&DR                      'HOO        OptiPlex7010MT            74:              1320             $1,091.20    $1,091.20   $0.00
               -RVHSK(DVWHS                    'HOO       2SWL3OH[07             94:              1319             $1,091.20    $1,091.20   $0.00
              -RKQ6SULQJPDQ                    'HOO        3UHFLVLRQ7             7:              1318            $3,483.12    $3,483.12   $0.00
                :LOOLDP0XVD                    'HOO        3UHFLVLRQ7             ++17:              1321            $1,719.21    $1,719.21   $0.00
                -RKQ0DUXJJ                     'HOO        3UHFLVLRQ7             ++37:              1322            $1,719.20    $1,719.20   $0.00
                -HVVL5D\KLOO                   'HOO       2SWL3OH[07              -%7);             1324             $691.29      $691.29    $0.00
                0LQJTLX/XR                        'HOO       2SWL3OH[07             *-/*;              N/A              $3,199.00    $3,199.00   $0.00
                %RDUG5RRP                      'HOO       2SWL3OH[6))            34.+;              1341             $818.88      $818.88    $0.00
                7XQD6DQVDO                     'HOO        3UHFLVLRQ7              )5<             N/A             $1,044.65    $1,044.65   $0.00
              IRU-DQHOO&DQWX                  'HOO       2SWL3OH[07             **<              N/A               onlease
                 .HOO\3DWH                     'HOO       2SWL3OH[07             **<              N/A               onlease
                %ULDQ:DWVRQ                    'HOO       2SWL3OH[07             **<              N/A               onlease
             3DWULFLD=DPEUDQR                  'HOO       2SWL3OH[07             **<              N/A               onlease
               2OD\6KRUXQNH                    'HOO       2SWL3OH[07             **<              N/A               onlease
               3DWULFLD*HQWU\                  'HOO       2SWL3OH[07             **<              N/A               onlease
              'HERUDK:DONHU                    'HOO       2SWL3OH[07             **<              N/A               onlease
               6DQGUD)ULVFR                    'HOO       2SWL3OH[07             **<              N/A               onlease
               )UDQN/DQGHUV                    'HOO       2SWL3OH[07             =6+<              1339            $1,539.72    $1,539.72   $0.00



                                                                                       3DJHRI
*HR7UDFH7HFKQRORJLHV,QF
                                           Case 16-36419 Document 10 Filed   in TXSB on 12/30/16 Page 43 of 98
                                                                     6FKHGXOH
&DVH1R                                                    2IILFH(TXLSPHQWDVRIWKH(IIHFWLYH'DWHRI6HSWHPEHU


               -DVRQ+RUQ                           'HOO            PrecisionT3600            %<+<                               $1,699.00   $1,699.00       $0.00
              <RQJIHQJ/L                              'HOO           2SWL3OH[07            &.&%<              1334             $779.07     $779.07        $0.00
                  *<X                             'HOO           2SWL3OH[07            &.1%<              1338            $1,645.81   $1,645.81       $0.00
              7LP6KHSDUG                           'HOO           2SWL3OH[07            &.3%<              1333            $2,078.77   $2,078.77       $0.00
             -DFN&DPDFKR                           'HOO           2SWL3OH[07            =6*<              1330            $6,073.18   $4,168.23   $1,904.95
              -DLPH6WHLQ                                                  ;36                 69<              1346            $1,878.40   $1,774.04    $104.36
             -RHO/DWFKPDQ                          'HOO           2SWL3OH[07            ':+%=              1347           $2,164.98   $2,044.70    $120.28
             $P\3HWHUVRQ                           'HOO           2SWL3OH[07            *:+%=              1348            $2,164.98   $1,984.57    $180.42
             'DYLG)UDQNOLQ                         'HOO           OptiPlex7010MT            41&=              N/A             $999.00     $915.75       $83.25



               .\OH%URFN                /7         'HOO            /DWLWXGH'             '1+%)&               1195            $2,343.17   $2,082.82    $260.35
               )UHG*RVV                            'HOO           2SWL3OH[07            '%/*=              1357              $735.65     $633.48     $102.17
            7URQG+DXJODQG                                         066XUIDFH3UR,,                     1366            $1,898.44   $1,634.77    $263.67
              7RP&KDUOWRQ                          'HOO           2SWL3OH[07            %+              1356             $931.15     $801.82     $129.33
               +HOJD6WHLQ                                           9HQX3UR               '1=              1362            $1,610.03   $1,341.69    $268.34
               %LOO7KRPDV                                           9HQX3UR               )1=              1361            $1,610.03   $1,341.69    $268.34
              .HQ2UODVND                                            9HQX3UR              +0:0=               1360            $1,610.03   $1,341.69    $268.34
              %ULDQ$GDPV                                            9HQX3UR              1;0=               1359            $1,610.03   $1,341.69    $268.34
          6HUJH\$VWYDWVDWXURY                       'HOO          2SWL3OH[07            *.              1364             $3,658.65   $2,947.25    $711.40
             0LFKDHO$QJHO                           'HOO          2SWL3OH[07            *.              1363             $3,658.65   $2,947.25    $711.40
               %LOO6FKURP                           'HOO          2SWL3OH[07            /&/              1368             $800.06     $644.49     $155.57
             :HQG\<RXQJ                             'HOO          2SWL3OH[07           1<:               1373             $1,282.40    $961.80     $320.60
                ,DQ+DEHU                            'HOO           PrecisionT3610            =)<              1378            $1,799.33   $1,299.52    $499.81
            7LJUHVV0HHWLQJ                          'HOO          3UHFLVLRQ7            &+*=               N/A             $1,799.00   $1,249.31    $549.69
              $PEHU/XOLQJ                           'HOO         2SWL3OH[07             +67;=              1382             $3,256.48   $2,170.99   $1,085.49
             &DPHOR3HUH]                            'HOO         2SWL3OH[07             +;-<=              1379            $3,256.48   $2,170.99   $1,085.49
           0LFKDHO0F&OLPDQV                         'HOO         2SWL3OH[07             17.3              1385             $936.56     $624.37     $312.19
            0LFKDHO*OLQVN\                            $SSOH         $SSOH'LVSOD\        &19=)*&             1384           $8,271.41   $5,284.51   $2,986.90
            0LFKDHO*OLQVN\                            $SSOH         $SSOH'LVSOD\        &1&5)*&             1384           $8,271.41   $5,284.51   $2,986.90
            0LFKDHO*OLQVN\                            $SSOH           $SSOH0$&3UR           ).1.)            1384           $8,271.41   $5,284.51   $2,986.90
            0LFKDHO*OLQVN\                                             3HJDVXV5           0           N/A            $1,099.00    $702.14     $396.86
               %HUW&KLQHQ                           'HOO          /DWLWXGH            /'1              1387            $1,435.41    $877.20     $558.22
              -RKQ6XOOLYDQ                          'HOO         2SWL3OH[07             +6-==              1383            $3,256.48   $1,990.07   $1,266.41
                                             /7        6RQ\          9LDR3&*5'/           283373303411807        N/A              $1,399.00   $1,243.56    $155.44
                                         Microwave   3DQDVRQLF          11616                )            N/A              $1,799.00   $1,599.11    $199.89
                                             /7       7RVKLED             /6               :             N/A               $999.00     $888.00     $111.00
                                             /7        6RQ\              3&*//                 &/0-<             N/A               $999.00     $888.00     $111.00
                                          0RQLWRU       'HOO               )3            CN05Y2327161864IBBH2     N/A               $400.00     $355.56       $44.44
                                          0RQLWRU       'HOO              )3F            CN0CC299641806CB0B3A     N/A               $400.00     $355.56       $44.44
                                          0RQLWRU       'HOO              )3W            CN0FP18271618766BAU6     N/A               $400.00     $355.56       $44.44
                                          0RQLWRU       'HOO              )3W            CN0FP18271618766BB2P     N/A               $400.00     $355.56       $44.44
                                          0RQLWRU       'HOO               )3            CN0T611671618518AD7D     N/A               $400.00     $355.56       $44.44
                                          3ULQWHU       +3                 /-              &1%&*'             N/A              $1,899.00   $1,688.00    $211.00
                                          3ULQWHU       +3                 /-              &1%.)             N/A              $1,899.00   $1,688.00    $211.00
            /DSWRSIRU6KRZ              /7          +3            3DYLOLRQGY           &1'4             1170             $1,271.93   $1,130.60    $141.33
                                          3ULQWHU      (SVRQ         6W\OXV3KRWR5          )5.             N/A              $1,399.00   $1,243.56    $155.44



                                                                                              3DJHRI
*HR7UDFH7HFKQRORJLHV,QF
                                         Case 16-36419 Document 10 Filed   in TXSB on 12/30/16 Page 44 of 98
                                                                   6FKHGXOH
&DVH1R                                            2IILFH(TXLSPHQWDVRIWKH(IIHFWLYH'DWHRI6HSWHPEHU


                -3HUH]              /7       6RQ\        9LDR3&*=:$                -)-             287            $3,159.81    $2,808.72     $351.09
               %6FKURP              /7       6RQ\        9DLR9*16               -%0&             1009            $2,164.99    $1,924.44     $240.55
                                        0RQLWRU   'HOO            )3             MX09J36747605335AXG0     N/A              $400.00      $355.56       $44.44
                                        0RQLWRU   'HOO            )3             MX09J36747605341AB25     N/A              $400.00      $355.56       $44.44
    2030         RSWorkRoom      420                                   N/A                     N/A               N/A              $400.00      $355.56       $44.44
    2049        I.T.SwitchRoom   510                                   N/A                     N/A               N/A              $400.00      $355.56       $44.44
    2060           I.T.Storage    915                             Dell19"Display              N/A               N/A             $1,100.00     $977.78      $122.22
            0LFKDHO)OHPLQJ                                     ,%07KLQNSDG                                                    $400.00      $355.56       $44.44
                                                                                                                                           $2,000.00    $1,777.78     $222.22

                                                                                                                                          $87,490.99   $66,371.64   $21,119.35




                                                                                      3DJHRI
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In re GeoTrace Technologies, Inc.Document 10 Filed in60(a)
                                          Schedule    TXSB on 12/30/16 Page 47 of 98
Case No. 16-36419


                                         GEOTRACE TECHNOLOGIES
                                              IP Status Chart
                                            As of Sept. 19, 2013
            U.S. Patent

                              Summary                        Status                Next Action Due
            U.S. Patent No. 7,447,114,                    Granted         8th-year maintenance fee due
            issued November 4, 2008, entitled “Non-                       5/4/2016
            linear seismic trace matching to well logs”
            Based on U.S. Application Serial No.
            11/216,816


            U.S. Trademarks

                    Mark             Registration    Application      Status          Next Action Due
                                      Number            Serial
                                                       Number
            ANSER                   1985282          74649264      Registered    Renewal due 7/9/2016
            BE                      3523969          77433998      Registered    8&15 due 10/28/2014
            DIAMOND                 3523970          77434000      Registered    8&15 due 10/28/2014
            GEOTRACE &              3210190          78562450      Registered    Renewal due 2/20/2017
            Design
            GEOTRACE                3368040          77137388      Registered    Renewal due 1/15/2018
            HFI                     2406211          75873740      Registered    Renewal due 11/21/2020
            MAXRES                  2894623          76518327      Registered    Renewal due 10/19/2014
            RESOLUTIONARY           3272139          78861955      Registered    Renewal due 7/31/2017
            ROCKRES                 2960354          76517841      Registered    Renewal due 6/7/2015
            TIE IT ALL              3272138          78861950      Registered    Renewal due 7/31/2017
            TOGETHER
            TIGRESS                 3629423          77322664      Registered    8&15 due 6/2/2015

            Community Trademark

                    Mark             Registration    Application      Status          Next Action Due
                                      Number            Serial
                                                       Number
            GEOTRACE                5794871          5794871       Registered    Renewal due 3/31/2017

            U.S. Copyrights

                                 Name                         Registration        Status       Expiration
                                                                Number                            Date
            DIAMOND                                          TXu 1-585-         Registered   12/31/2103
                                                             905
            RECORDING & TESTING STANDARDS                    133-765            Registered   12/31/2083
            MANUAL DFS V CREWS
                                                Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 48 of 98
GeoTraceTechnologies,Inc.                                                                      Schedule60;ďͿ
CaseNo.16Ͳ36419                                                                      TrademarkReportasofJuly25,2014

Mark           Country        Status       Application Application Registration Registration Class Goods/Services
                                           Number       Date         Number        Date
ANSER          UnitedStates Registered    74/649,264     3/20/1995      1,985,282     7/9/1996      35 Dataprocessingservicesinthefieldofoiland
                                                                                                        gasexplora
BE             UnitedStates Registered    77/433,998     3/28/2008      3,523,969 10/28/2008        42 Subsurfaceanalysisservicesforthepetroleum
                                                                                                        industry,inc
DIAMOND        UnitedStates Registered    77/434,000     3/28/2008      3,523,970 10/28/2008        42 Subsurfaceanalysisservicesforthepetroleum
                                                                                                        industry,inc
GEOTRACE       European  Registered       5794871        3/29/2007       5794871    1/30/2008       42 AnalysisforoilͲfieldexploitation;geological
               Community                                                                               research;geologicalsurveys;oilͲfieldsurveys;
               Trademark                                                                                underwaterexploration;subsurfaceanalysis
                                                                                                        servicesforthepetroleumindustry;including
                                                                                                        geophysicaldataanalysis,reservoirdefinition,
                                                                                                        evaluationandmodelingservices;subsurface
                                                                                                        imagingservices,namely,geophysical,
                                                                                                        geologicalandpetrophysicalimagingand
                                                                                                        analysisforthepetroleumindustry


GEOTRACE       UnitedStates Registered    77/137,388      3/22/2007       3,368,040     1/15/2008      42 Subsurfaceanalysisservicesforthepetroleum
                                                                                                           industry,inc
GEOTRACE& UnitedStates Registered       78/562,450       2/8/2005       3,210,190     2/20/2007      42 Subsurfaceanalysisservicesforthepetroleum
Design                                                                                                     industry,inc
HDBAND      UnitedStates Pending          86/221,579      3/14/2014                                    42 Analysisservicesforthepetroleumindustry,
                                                                                                           includinggeop
HFI            UnitedStates Registered    75/873,740     12/16/1999       2,406,211    11/21/2000      42 Dataanalysisservicesinthegeophysicalfield
                                                                                                           forthepetr
MAXRES         UnitedStates Registered    76/518,327      6/2/2003       2,894,623    10/19/2004      42 Computergraphicservicesandcomputer
                                                                                                           softwaredevelopment
RESOLUTIONA UnitedStates Registered       78/861,955      4/14/2006       3,272,139     7/31/2007      42 Subsurfaceanalysisservicesforthepetroleum
RY                                                                                                         industry,inc
ROCKRES     UnitedStates Registered       76/517,841      5/29/2003       2,960,354       6/7/2005     42 Computergraphicservicesandcomputer
                                                                                                           softwaredevelopment
TIEITALL     UnitedStates Registered   78/861,950      4/14/2006       3,272,138     7/31/2007      42 Subsurfaceanalysisservicesforthepetroleum
TOGETHER                                                                                                   industry,inc
TIGRESS        UnitedStates Registered    77/322,664      11/6/2007       3,629,423       6/2/2009     42 GeoͲscientificandseismicdataanalysisand
                                                                                                           consultationse




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                        &DVH1R                                                                                                                                                                        &DSLWDOL]HG6RIWZDUHDVRI(IIHFWLYH'DWHRI6HSWHPEHU
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                                    %DODQFH                               -DQXDU\                                      )HEUXDU\                                  0DUFK                                  $SULO                                  0D\                                        -XQH                                      -XO\                                     $XJXVW                                     6HSWHPEHU                                 2FWREHU                                   1RYHPEHU                                   'HFHPEHU                                %DODQFH                 %DODQFH
              $FFRXQW                5()                        'HELW               &UHGLW                   'HELW                &UHGLW               'HELW              &UHGLW              'HELW            &UHGLW                'HELW              &UHGLW                'HELW                &UHGLW               'HELW                &UHGLW               'HELW                 &UHGLW                'HELW           &UHGLW                    'HELW                &UHGLW               'HELW          &UHGLW                      'HELW           &UHGLW                           5()                    5()
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           Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 58 of 98
*HR7UDFH7HFKQRORJLHV,QF                   6FKHGXOH
&DVH1R       1RWHV5HFHLYDEOHDVRI(IIHFWLYH'DWHRI6HSWHPEHU

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                                                3DJHRI
                            Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 59 of 98
  )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

                 Geotrace Technologies, Inc.
  'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB
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                                  16-36419
  &DVHQXPEHU ,INQRZQ         BBBBBBBBBBBBBBBBBBBBBBBBB
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                                                                                                                                                                    DPHQGHGILOLQJ
  2IILFLDO)RUP'
  6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                                                                                                    
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     1R&KHFNWKLVER[DQGVXEPLWSDJHRIWKLVIRUPWRWKHFRXUWZLWKGHEWRU¶VRWKHUVFKHGXOHV'HEWRUKDVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
     <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZ
 3DUW      /LVW&UHGLWRUV:KR+DYH6HFXUHG&ODLPV
                                                                                                                                           &ROXPQ$                &ROXPQ%
  /LVWLQDOSKDEHWLFDORUGHUDOOFUHGLWRUVZKRKDYHVHFXUHGFODLPV,IDFUHGLWRUKDVPRUHWKDQRQH
    VHFXUHGFODLPOLVWWKHFUHGLWRUVHSDUDWHO\IRUHDFKFODLP                                                                            $PRXQWRIFODLP        9DOXHRIFROODWHUDO
                                                                                                                                           'RQRWGHGXFWWKHYDOXH WKDWVXSSRUWVWKLV
                                                                                                                                           RIFROODWHUDO          FODLP
 &UHGLWRU¶VQDPH                                                       'HVFULEHGHEWRU¶VSURSHUW\WKDWLVVXEMHFWWRDOLHQ
     Geokinetics, Inc. as successor in interest to Silicon Valley Bank 
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     c/o David Elder, delder@gardere.com
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                             November 15, 2010 
    'DWHGHEWZDVLQFXUUHG BBBBBBBBBBBBBBBBBB                             ,VDQ\RQHHOVHOLDEOHRQWKLVFODLP"
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    VDPHSURSHUW\"                                                        &KHFNDOOWKDWDSSO\
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              DQGLWVUHODWLYHSULRULW\                                     'LVSXWHG
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    VDPHSURSHUW\"                                                        &KHFNDOOWKDWDSSO\

     1R                                                                      &RQWLQJHQW
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              SULRULW\"                                                      'LVSXWHG
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  7RWDORIWKHGROODUDPRXQWVIURP3DUW&ROXPQ$LQFOXGLQJWKHDPRXQWVIURPWKH$GGLWLRQDO                                            9,776,226.41
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  2IILFLDO)RUP'                                 6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                                    SDJHRIBBB
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         Case 16-36419
&DVH1R               Document 10 Filed       6FKHGXOHin TXSB on 12/30/16             Page 60 of 98
                               &ROODWHUDO'HVFULSWLRQDVRI(IIHFWLYH'DWHRI6HSWHPEHU
                             Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 61 of 98
      )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

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                                                                                                                                                               DPHQGHGILOLQJ
     2IILFLDO)RUP()
     Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   
     %HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH8VH3DUWIRUFUHGLWRUVZLWK35,25,7<XQVHFXUHGFODLPVDQG3DUWIRUFUHGLWRUVZLWK12135,25,7<
     XQVHFXUHGFODLPV /LVWWKHRWKHUSDUW\WRDQ\H[HFXWRU\FRQWUDFWVRUXQH[SLUHGOHDVHVWKDWFRXOGUHVXOWLQDFODLP$OVROLVWH[HFXWRU\FRQWUDFWV
     RQ Schedule A/B: Assets - Real and Personal Property 2IILFLDO)RUP$%) DQGRQSchedule G: Executory Contracts and Unexpired Leases
      2IILFLDO)RUP* 1XPEHUWKHHQWULHVLQ3DUWVDQGLQWKHER[HVRQWKHOHIW,IPRUHVSDFHLVQHHGHGIRU3DUWRU3DUWILOORXWDQGDWWDFK
     WKH$GGLWLRQDO3DJHRIWKDW3DUWLQFOXGHGLQWKLVIRUP

 Part 1:             List All Creditors with PRIORITY Unsecured Claims

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  /LVWLQDOSKDEHWLFDORUGHUDOOFUHGLWRUVZKRKDYHXQVHFXUHGFODLPVWKDWDUHHQWLWOHGWRSULRULW\LQZKROHRULQSDUW,IWKHGHEWRUKDVPRUHWKDQ
       FUHGLWRUVZLWKSULRULW\XQVHFXUHGFODLPVILOORXWDQGDWWDFKWKH$GGLWLRQDO3DJHRI3DUW

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       QXPEHU BBBBBBBBBBBB                                              1R
                                                                              <HV
       6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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                                                                              <HV
       6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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       FODLP86& D  BBBBB
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 3ULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                                                                              
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       6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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     2IILFLDO)RUP()                                       6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                        30
                                                                                                                                                                 SDJHRIBBB
                                 Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page
                         *HRWUDFH 7HFKQRORJLHV ,QF                                       62 of 98
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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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    Part 1.          Additional Page                                                                                                                                                          


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    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                      7RWDOFODLP               3ULRULW\DPRXQW

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    Part 1.         Additional Page                                                                                                                                                         


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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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             6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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             FODLP86& D  BBBBB
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        2IILFLDO)RUP()                                     6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                                  30
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                                 Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page
                         *HRWUDFH 7HFKQRORJLHV ,QF                                       65 of 98
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        'HEWRU          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                        &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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             QXPEHU BBBBBBBBBBBB                                             1R
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             6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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             7RP /DQJVWRQ
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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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             6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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        2IILFLDO)RUP()                                     6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                             7     30
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        'HEWRU          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                        &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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    Part 1.         Additional Page                                                                                                                                                          


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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        2IILFLDO)RUP()                                     6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                                8    30
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                                 Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page
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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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             QXPEHU BBBBBBBBBBBB                                             1R
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             'DWHRUGDWHVGHEWZDVLQFXUUHG                                     %DVLVIRUWKHFODLP
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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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             6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
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        2IILFLDO)RUP()                                     6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                             11    30
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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
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        2IILFLDO)RUP()                                     6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                            12     30
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    Part 1.         Additional Page                                                                                                                                                         


    &RS\WKLVSDJHLIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
    SUHYLRXVSDJH,IQRDGGLWLRQDO35,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH                                     7RWDOFODLP               3ULRULW\DPRXQW

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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
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                                                                                 $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                  Check all that apply
             7H[DV &RPSWUROOHU RI 3XEOLF $FFRXQWV          &RQWLQJHQW
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             FODLP86& D  BBBBB
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         3ULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                                                                         81.12:1                          81.12:1
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             /DVWGLJLWVRIDFFRXQW                                           ,VWKHFODLPVXEMHFWWRRIIVHW"
             QXPEHU BBBBBBBBBBBB                                             1R
                                                                                   <HV
             6SHFLI\&RGHVXEVHFWLRQRI35,25,7<XQVHFXUHG
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        2IILFLDO)RUP()                                     6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                            13     30
                                                                                                                                                                               SDJHBBRIBBB
                              Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page
                       GeoTrace Technologies, Inc.                                      74 of 98
                                                                                   16-36419
   Debtor             _______________________________________________________                                        Case number   (if known)_____________________________________
                      Name



 Part 1.         Additional Page


  Copy this page if more space is needed. Continue numbering the lines sequentially from the
  previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                               Total claim                Priority amount



  52
2._      Priority creditor’s name and mailing address                                                                           5,816.74
                                                                                                                              $______________________       5,816.74
                                                                                                                                                          $_________________
                                                                              As of the petition filing date, the claim is:
                                                                              Check all that apply.
          Alief ISD Tax Office                       
          _________________________________________________________________
                                                                                  Contingent
                                                                                 Unliquidated
         P.O. Box 368
         ___________________________________________                             Disputed
         Alief, TX 77411
         ___________________________________________
         Date or dates debt was incurred                                       Basis for the claim:
         2016                                                                  Taxes - 5959 Corporate Drive
                                                                              __________________________________
         _________________________________

         Last 4 digits of account                                             Is the claim subject to offset?
         number      ___ ___ ___ ___                                           No
                                                                               Yes
         Specify Code subsection of PRIORITY unsecured
         claim: 11 U.S.C. § 507(a) (_____)
                                    8


2. 53
    _     Priority creditor’s name and mailing address                                                                          463.75
                                                                                                                              $______________________        463.75
                                                                                                                                                          $_________________
                                                                              As of the petition filing date, the claim is:
                                                                              Check all that apply.
          Cypress Fairbanks ISD Tax Assessor         
          _________________________________________________________________
                                                                                  Contingent
                                                                                 Unliquidated
         10494 Jones Road, Suite 106
         ___________________________________________                             Disputed
         Houston,   TX  77065
         ___________________________________________
         Date or dates debt was incurred                                       Basis for the claim:
         2016
                                                                               Taxes - 7120 Brittmoore
                                                                              __________________________________
         _________________________________

         Last 4 digits of account                                             Is the claim subject to offset?
         number      ___ ___ ___ ___                                          X No
                                                                               Yes
         Specify Code subsection of PRIORITY unsecured
                                    8
         claim: 11 U.S.C. § 507(a) (_____)

2. 54
   _      Priority creditor’s name and mailing address                                                                          5,951.75
                                                                                                                              $______________________       5,951.75
                                                                                                                                                          $_________________
                                                                              As of the petition filing date, the claim is:
                                                                              Check all that apply.
          Dallas County Tax Office                   
          _________________________________________________________________       Contingent
         1201 Elm Street, Suite 2600
         ___________________________________________
                                                                                 Unliquidated
                                                                                 Disputed
         Dallas, TX 75270
         ___________________________________________
         Date or dates debt was incurred                                       Basis for the claim:
         2016                                                                  Taxes - 2435 N. Central Expy 1100
                                                                              __________________________________
         _________________________________
         Last 4 digits of account                                             Is the claim subject to offset?
         number      ___ ___ ___ ___                                           No
                                                                               Yes
         Specify Code subsection of PRIORITY unsecured
                                    8
         claim: 11 U.S.C. § 507(a) (_____)

2._55    Priority creditor’s name and mailing address                                                                         11,309.38                     11,309.38
                                                                              As of the petition filing date, the claim is: $______________________       $_________________

         Mike    Sullivan Tax Assessor - Katy ISD
         _________________________________________________________________ 
                                                                              Check all that apply.
                                                                                  Contingent
         P.O. Box 4622
         ___________________________________________                             Unliquidated
                                                                                 Disputed
         Houston, TX 77210-4622
         ___________________________________________
         Date or dates debt was incurred                                       Basis for the claim:
         2016                                                                  Taxes - 12141 Wickchester Ln
                                                                              __________________________________
         _________________________________

         Last 4 digits of account                                             Is the claim subject to offset?
         number      ___ ___ ___ ___                                           No
                                                                               Yes
         Specify Code subsection of PRIORITY unsecured
                                    8
         claim: 11 U.S.C. § 507(a) (_____)




        Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          14 of ___
                                                                                                                                                                        page __    30
                            Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page
                     *HRWUDFH 7HFKQRORJLHV ,QF
                                                                                      75 of 98
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 Part 1.       Additional Page


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 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

  /LVWLQDOSKDEHWLFDORUGHUDOORIWKHFUHGLWRUV ZLWKQRQSULRULW\XQVHFXUHGFODLPV,IWKHGHEWRUKDVPRUHWKDQFUHGLWRUVZLWKQRQSULRULW\
    XQVHFXUHGFODLPVILOORXWDQGDWWDFKWKH$GGLWLRQDO3DJHRI3DUW
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 Part 2:     Additional Page


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    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


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                                                                                                                 7RWDORIFODLPDPRXQWV



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                                                    Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 91 of 98
          GeoTrace Technologies, Inc.                                                             Schedule of Former Employee Claims
          Case No. 16-36419
GEOTRACE TECHNOLOGIES, INC.
PRIORITY UNSECURED CREDITORS - EMPLOYEES                                                                             TOTAL                                  GENERAL
                                                                             ACCRUED                                ACCRUED                                UNSECURED
                                           OCT 2016       SEPT 2016          VACATION             PRIORITY          VACATION               TOTAL             CLAIM
                  NAME                  GROSS PAYROLL COMMISSIONS          MAY - OCT 2016          CLAIM           YTD 10/27/16            CLAIM         [TOTAL - PRIOR.]
 1   AARON ADAMS                        $     11,410.40 $           -     $        1,711.54   $      12,850.00   $      12,836.54      $     24,246.95   $      11,396.95
 2   BRIAN ADAMS                               7,051.38        1,065.40            3,173.08          11,289.87           3,173.08            11,289.87                 -
 3   STACY BAKER                               3,195.86             -                179.99           3,375.85           2,406.83             5,602.69            2,226.83
 4   DALE DEVON BAPTISTE                      10,096.28             -              4,034.42          12,850.00          10,234.47            20,330.75            7,480.75
 5   REBECCA LYNN BUEHNER                      4,459.98          743.50              133.80           5,337.28           5,485.72            10,689.20            5,351.93
 6   ROBERT BURGER                             3,998.82             -                   -             3,998.82           2,037.12             6,035.94            2,037.12
 7   JANELL CANTU                              3,507.00             -              1,260.05           4,767.05           2,239.81             5,746.81              979.76
 8   ELIZABETH K. CARLISLE                     8,333.44          875.00            1,750.00          10,958.45          11,750.01            20,958.45          10,000.01
 9   DAVID RUSSELL CREATH                      6,153.92             -              2,030.77           8,184.69           8,953.85            15,107.76            6,923.08
10   TRI DUONG                                 4,938.52             -              2,222.31           7,160.83           8,148.46            13,086.98            5,926.15
11   MICHAEL FLEMING                           9,294.98             -              5,575.53          12,850.00          20,443.62            29,738.60          16,888.60
12   DALE E. FLENTHROPE                        5,429.56          571.50            2,443.27           8,444.34           8,958.66            14,959.73            6,515.39
13   TONY L FUNG                               2,466.55             -                798.45           3,265.00           2,889.64             5,356.18            2,091.18
14   PATRICIA GENTRY                           6,282.14             -              2,826.93           9,109.07          10,365.40            16,647.55            7,538.47
15   JOHN GILLOOLY                             4,807.74        1,667.24              575.48           7,050.46           1,295.91             7,770.89              720.43
16   FRED GOSS                                 3,097.99             -                   -             3,097.99           3,624.66             6,722.65           3,624.66
17   MICHELLE GRAHAM                           2,435.13             -              1,155.05           3,590.17           3,514.04             5,949.16           2,358.99
18   JAY M GULLY                               5,624.44        3,844.87            1,181.12          10,650.43           7,930.36            17,399.67            6,749.24
19   VU ANH HA                                 5,128.28             -                   -             5,128.28           2,146.16             7,274.44            2,146.16
20   ANDRE HAMILTON                            6,410.34        2,212.56            1,730.77          10,353.67           8,269.24            16,892.13            6,538.47
21   KEVIN J. HELLMAN                         10,564.22             -              2,852.31          12,850.00          10,458.47            21,022.69            8,172.69
22   BRIAN JAMES                               3,737.22          300.00              317.31           4,354.53           3,966.35             8,003.57            3,649.04
23   BRIAN JOINER                              4,348.64             -              1,107.66           5,456.30           6,030.60            10,379.24            4,922.94
24   CALVIN L. JOYNER                          8,974.48             -                807.69           9,782.18          11,576.94            20,551.42          10,769.24
25   DILLON LAFOY                              4,807.74          512.50            1,298.08           6,618.31           7,067.31            12,387.55           5,769.23
26   FRANK LANDERS                             3,886.70             -                732.60           4,619.30             915.75             4,802.45              183.15
27   TOM LANGSTON                             13,461.70             -              5,250.00          12,850.00          13,528.85            26,990.55          14,140.55
28   BEN LASSCOCK                             10,464.20             -              4,442.31          12,850.00           7,551.93            18,016.13            5,166.13
29   JOEL LATCHMAN                             5,384.68             -                403.85           5,788.52           5,250.00            10,634.68            4,846.15
30   ANDREW LEWIS                              5,641.10          106.20            1,690.62           7,437.91           6,195.54            11,942.84            4,504.93
31   WAY MATHEWS                               6,381.56             -              1,425.64           7,807.21           6,089.54            12,471.10            4,663.90
32   BARBARA MOORE                             4,297.80        1,187.95            1,337.98           6,823.73           4,987.03            10,472.77           3,649.04
33   WILLIAM MUSA                              5,128.28          423.25              461.54           6,013.07           6,153.86            11,705.39           5,692.32
34   NICOLA PAPP                              10,597.24             -                   -            10,597.24          12,873.91            23,471.15          12,873.91
35   KELLY PATE                                2,583.00             -                321.25           2,904.25           3,491.70             6,074.70            3,170.46
36   GARY PERRY                               10,256.54             -              2,153.85          12,410.39          11,384.62            21,641.16            9,230.77
37   TUNA ALTAY SANSAL                         5,128.28          106.20              306.15           5,540.64           2,964.62             8,199.11            2,658.47
38   WILLIAM SCHROM                           19,231.00             -              8,653.85          12,850.00          30,288.46            49,519.46          36,669.46
39   MATTHEW SITTON                            2,038.56             -                 96.06           2,134.62             576.35             2,614.91              480.29
40   MUHLIS UNALDI                             5,128.28             -              1,229.23           6,357.52           3,993.85             9,122.14           2,764.62
41   DIANE UNGER                               3,533.36             -              1,300.00           4,833.36           5,100.01             8,633.37           3,800.01
42   DEBORAH WALKER                           11,218.08             -              5,048.06          12,850.00          18,509.60            29,727.69          16,877.69
43   STUART WALLER                             5,913.52        1,058.13            2,661.06           9,632.71           9,757.21            16,728.86            7,096.15
44   AARON WHITAKER                            3,737.22          298.69              740.39           4,776.29           4,971.16             9,007.07            4,230.78
45   FRED WHITE                                4,807.74             -              1,440.87           6,248.60           1,921.15             6,728.89              480.29
46   BRIAN WILLIAMS                            7,403.93          692.40            3,331.73          11,428.06          12,216.35            20,312.68           8,884.62
47   MIN XU                                    6,730.84             -              2,017.21           8,748.05           5,504.42            12,235.26           3,487.21
48   WENDY YOUNG                               3,604.00             -                   -             3,604.00           1,604.64             5,208.64           1,604.64
49   DAVID ZERWIN                              4,230.82             -              1,903.85           6,134.66           6,980.77            11,211.59           5,076.92
     TOTALS                             $    307,343.49 $    15,665.39    $       86,113.69   $     378,613.68   $     358,614.57      $    681,623.44   $    303,009.77
                      Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 92 of 98

 Fill in this information to identify the case:

             Geotrace Technologies, Inc.
 Debtor name __________________________________________________________________

                                        Southern
 United States Bankruptcy Court for the:______________________ District of     Texas
                                                                               _______
                                                                              (State)
 Case number (If known):    16-36419
                            _________________________                        7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       Leased Equipment-Sch #22
                                          ____________________________________             Dell Financial Services LP
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             12234 N. IH-35
                                                                                           _________________________________________________________
                                                                                           Austin, TX 78753
                                                                                           _________________________________________________________
         State the term remaining         11 months
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Leased Equipment-Sch #1A
                                          ____________________________________             HP Financial Services Co.
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             200 Connell Drive
                                                                                           _________________________________________________________
                                                                                           Suite 5000
                                                                                           _________________________________________________________
         State the term remaining         13 months
                                          ____________________________________             Berkeley Heights, NJ 07922
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Leased Equipment-Sch #3
                                          ____________________________________             HP Financial Services Co.
                                                                                           _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             200 Connell Drive
                                                                                           _________________________________________________________
                                                                                           Suite 5000
                                                                                           _________________________________________________________
         State the term remaining         5 months
                                          ____________________________________             Berkeley Heights, NJ 07922
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Leased Equipment-Sch #5
                                          ____________________________________             HP Financial Services Co.
                                                                                           _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             200 Connell Drive
                                                                                           _________________________________________________________
                                                                                           Suite 5000
                                                                                           _________________________________________________________
         State the term remaining         7 months
                                          ____________________________________             Berkeley Heights, NJ 07922
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Leased Equipment
                                          ____________________________________             ZENO DIGITAL SOLUTIONS LLC
                                                                                           _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             10688 HADDINGTON DRIVE
                                                                                           _________________________________________________________
                                                                                           HOUSTON, TX 77043
                                                                                           _________________________________________________________
         State the term remaining         6 MONTHS
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                       5
                                                                                                                                              page 1 of ___
                      Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 93 of 98

Debtor         GEOTRACE TECHNOLOGIES, INC.
               _______________________________________________________                                       16-36419
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    Leased Equipment-Sch #12
                                       ____________________________________     CSI LEASING INC.
                                                                                _________________________________________________________
 2.     lease is for and the nature
         of the debtor’s interest      ____________________________________     9990 OLD OLIVE STREET ROAD
                                                                                _________________________________________________________
                                                                                SUITE 101
                                                                                _________________________________________________________
         State the term remaining      13 months
                                       ____________________________________      SAINT LOUIS, MO 63141
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Leased Equipment (2.15.14)
                                       ____________________________________     N-VINT INC.
                                                                                _________________________________________________________
 2.     lease is for and the nature
         of the debtor’s interest      ____________________________________     3240 HANNA LAKE IND. DR. SE
                                                                                _________________________________________________________
                                                                                CALEDONIA, MI 49316
                                                                                _________________________________________________________
         State the term remaining      5 months
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Leased Equipment (4.17.14)
                                       ____________________________________     N-VINT INC.
                                                                                _________________________________________________________
 2.     lease is for and the nature
         of the debtor’s interest      ____________________________________     3240 HANNA LAKE IND. DR. SE
                                                                                _________________________________________________________
                                                                                CALEDONIA, MI 49316
                                                                                _________________________________________________________
         State the term remaining      2 months
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Leased Equipment (10.0.15)
                                       ____________________________________     N-VINT INC.
                                                                                _________________________________________________________
 2.     lease is for and the nature
         of the debtor’s interest      ____________________________________     3240 HANNA LAKE IND. DR. SE
                                                                                _________________________________________________________
                                                                                CALEDONIA, MI 49316
                                                                                _________________________________________________________
         State the term remaining      12 months
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    FACILITY LEASE
                                       ____________________________________     JP PALISADES II, LLC
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest      ____________________________________     2435 N. CENTRAL EXPY.
                                                                                _________________________________________________________
                                                                                SUITE 1650
                                                                                _________________________________________________________
         State the term remaining      36 months
                                       ____________________________________     RICHARDSON, TX 75080-2788
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    FACILITY LEASE
                                       ____________________________________     SESSAN WOODBRANCH INC.
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest      ____________________________________     12121 WICKCHESTER LN.
                                                                                _________________________________________________________
                                                                                SUITE 140
                                                                                _________________________________________________________
         State the term remaining      35 months
                                       ____________________________________      HOUSTON, TX 77079
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    FACILITY LEASE
                                       ____________________________________     WIRED ZONE PROPERTY LP
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest      ____________________________________     5959 CORPORATE DR.
                                                                                _________________________________________________________
                                                                                #1500
                                                                                _________________________________________________________
         State the term remaining      53 months
                                       ____________________________________      HOUSTON, TX 77036
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         2 of ___
                                                                                                                                 page ___  5
                      Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 94 of 98

Debtor         GEOTRACE TECHNOLOGIES, INC.
               _______________________________________________________                                       16-36419
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Chesapeake Energy Corporation
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #410-0897
                                       ____________________________________     6100 N. Western
                                                                                _________________________________________________________
                                                                                Oklahoma City, OK 73118
                                                                                _________________________________________________________
         State the term remaining      120 days
                                       ____________________________________      Attn: Mike Lovell
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Magnolia Petroleum
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #410-0870
                                       ____________________________________     3811 Turtle Creek Blvd, Ste 1900
                                                                                _________________________________________________________
                                                                                Dallas, TX 75219
                                                                                _________________________________________________________
         State the term remaining      30 days
                                       ____________________________________     Attn: Rus Richards
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Continental Resources
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #410-0894
                                       ____________________________________     20 N Broadway
                                                                                _________________________________________________________
                                                                                Oklahoma City, OK 73102
                                                                                _________________________________________________________
         State the term remaining      5 days
                                       ____________________________________     Attn: Paul Constance
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Silver Hill Energy Partners
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #410-0874
                                       ____________________________________     5949 Sherry Lane, suite 1550
                                                                                _________________________________________________________
                                                                                Dallas, TX 75225
                                                                                _________________________________________________________
         State the term remaining      60 days
                                       ____________________________________      Attn: Matt Huhnke
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Chesapeake Energy
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #415-0897
                                       ____________________________________     P O Box 548806
                                                                                _________________________________________________________
                                                                                Oklahoma City, OK 73154
                                                                                _________________________________________________________
         State the term remaining      83 DAYS
                                       ____________________________________     Attn: Mark Falk
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     RPM Exploration
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #415-0870
                                       ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      contract complete not 100% invd.
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Magnolia Petroleum
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #415-0894
                                       ____________________________________     3811 Turtle Creek Blvd, Suite 1900
                                                                                _________________________________________________________
                                                                                Dallas, TX 75219
                                                                                _________________________________________________________
         State the term remaining      3 DAYS
                                       ____________________________________      Attn: Kyle Burnett
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         3 of ___
                                                                                                                                 page ___  5
                      Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 95 of 98

Debtor         GEOTRACE TECHNOLOGIES, INC.
               _______________________________________________________                                       16-36419
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     American Energy
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #415-0874
                                       ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      20 DAYS
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     E&B Resources
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #510-0582
                                       ____________________________________     1600 Norris Rd
                                                                                _________________________________________________________
                                                                                Bakersfield CA 93308
                                                                                _________________________________________________________
         State the term remaining      2 DAYS
                                       ____________________________________     Attn: Chet Pohle
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     E&B Resources
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #510-083
                                       ____________________________________     1600 Norris Rd
                                                                                _________________________________________________________
                                                                                Bakersfield CA 93308
                                                                                _________________________________________________________
         State the term remaining      3 DAYS
                                       ____________________________________     Attn: Chet Pohle
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Oxy USA Inc.
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #510-0590
                                       ____________________________________     5 Greenway Plaza
                                                                                _________________________________________________________
                                                                                Suite 110
                                                                                _________________________________________________________
         State the term remaining      4 DAYS
                                       ____________________________________     Houston, Tx 77046-0521
                                                                                _________________________________________________________
         List the contract number of                                            Attn: Jeffrey Thompson
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Oxy USA Inc.
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #510-0594
                                       ____________________________________     5 Greenway Plaza
                                                                                _________________________________________________________
                                                                                Suite 110
                                                                                _________________________________________________________
         State the term remaining      8 DAYS
                                       ____________________________________     Houston, Tx 77046-0521
                                                                                _________________________________________________________
         List the contract number of                                             Attn: Jeffrey Thompson
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Oxy USA Inc.
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #510-0597
                                       ____________________________________     5 Greenway Plaza
                                                                                _________________________________________________________
                                                                                Suite 110
                                                                                _________________________________________________________
         State the term remaining      18 DAYS
                                       ____________________________________     Houston, Tx 77046-0521
                                                                                _________________________________________________________
         List the contract number of                                            Attn: Jordon Nolan, Chris Taylor
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Laredo Energy Operating, LLC
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #510-0600
                                       ____________________________________     City Centre Four
                                                                                _________________________________________________________
                                                                                840 West Sam Houston Pkwy N Suite 400
                                                                                _________________________________________________________
         State the term remaining      7 DAYS
                                       ____________________________________     Houston, Texas 77024
                                                                                _________________________________________________________
         List the contract number of                                            Attn: John Hennessy
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         4 of ___
                                                                                                                                 page ___  5
                      Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 96 of 98

Debtor         GEOTRACE TECHNOLOGIES, INC.
               _______________________________________________________                                       16-36419
                                                                                      Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Oxy USA Inc.
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #420-0785
                                       ____________________________________     5 Greenway Plaza
                                                                                _________________________________________________________
                                                                                Suite 110
                                                                                _________________________________________________________
         State the term remaining      25 DAYS
                                       ____________________________________     Houston, Tx 77046-0521
                                                                                _________________________________________________________
         List the contract number of                                            Attn: Jeffrey Thompson
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Oxy USA Inc.
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #420-0787
                                       ____________________________________     5 Greenway Plaza
                                                                                _________________________________________________________
                                                                                Suite 110
                                                                                _________________________________________________________
         State the term remaining      21 DAYS
                                       ____________________________________     Houston, Tx 77046-0521
                                                                                _________________________________________________________
         List the contract number of                                             Attn: Jordon Nolan, Chris Taylor
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    REVENUE CONTRACT
                                       ____________________________________     Glacier Oil
                                                                                _________________________________________________________
2.     lease is for and the nature
         of the debtor’s interest
                                       SMS #420-0790
                                       ____________________________________     202 Travis Street
                                                                                _________________________________________________________
                                                                                Suite 407
                                                                                _________________________________________________________
         State the term remaining      35 DAYS
                                       ____________________________________     Houston, Tx 77002
                                                                                _________________________________________________________
         List the contract number of                                             Attn: Dan Morris
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Letter of Intent, dated
                                       ____________________________________     GeoKinetics, Inc.
                                                                                _________________________________________________________
   30
 2._     lease is for and the nature
         of the debtor’s interest
                                       Nov. 8, 2016
                                       ____________________________________     1500 CityWest Blvd., Suite 800
                                                                                _________________________________________________________
                                                                                 Houston, TX 77042
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Software License Agreement,
                                       ____________________________________     GeoKinetics, Inc.
                                                                                _________________________________________________________
   31
 2._     lease is for and the nature
         of the debtor’s interest
                                       dated Nov. 23, 2016
                                       ____________________________________     1500 CityWest Blvd. Suite 800
                                                                                _________________________________________________________
                                                                                 Houston, TX 77042
                                                                                _________________________________________________________
         State the term remaining      March 23, 2017
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Use of License Fee Agreement,
                                       ____________________________________     Silicon Valley Bank
                                                                                _________________________________________________________
  32
 2._     lease is for and the nature
         of the debtor’s interest
                                       dated Nov. 30, 2016
                                       ____________________________________     380 Interlocken Crescent, Suite 600
                                                                                _________________________________________________________
                                                                                 Broomfield, CO 80021
                                                                                _________________________________________________________
         State the term remaining      N/A
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         5 of ___
                                                                                                                                 page ___  5
                      Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 97 of 98
 Fill in this information to identify the case:

              Geotrace Technologies, Inc.
 Debtor name __________________________________________________________________

                                        Southern
 United States Bankruptcy Court for the:_______________________             Texas
                                                                District of ________
                                                                                (State)
 Case number (If known):     16-36419
                            _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1      GTHC Holding Corp.
         _____________________         12141 Wickchester Lane
                                      ________________________________________________________              Geokinetics, Inc.                 D                   
                                                                                                           _____________________
                                      Street                                                                                                 E/F
                                       Suite 200
                                      ________________________________________________________                                                G
                                       Houston                 TX              77079
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
Case 16-36419 Document 10 Filed in TXSB on 12/30/16 Page 98 of 98
